Case 6:15-cv-01517-TC      Document 266-1         Filed 06/28/18      Page 1 of 193




                        EXPERT REPORT
                               OF
                    JOSEPH E. STIGLITZ, PH.D.
                  University Professor, Columbia University




           Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
            through his Guardian Tamara Roske-Martinez; et al.,
                                 Plaintiffs,

                                        v.

                The United States of America; Donald Trump,
        in his official capacity as President of the United States; et al.,
                                   Defendants.

               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON

                        (Case No.: 6:15-cv-01517-TC)




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        Case 6:15-cv-01517-TC                   Document 266-1                 Filed 06/28/18             Page 2 of 193




                                                TABLE OF CONTENTS


I.      QUALIFICATIONS AND PROFESSIONAL BACKGROUND .......................................1 

II.     ASSIGNMENT AND SUMMARY OF CONCLUSIONS .................................................6 

III.    BACKGROUND ON THE RELATIONSHIP BETWEEN ATMOSPHERIC
        CONCENTRATIONS OF GREENHOUSE GASES AND CLIMATE CHANGE ............9 

IV.     DEFENDANTS’ ACTIONS THAT PERPETUATE A FOSSIL FUEL ENERGY
        SYSTEM AND INSUFFICIENT ACTION ON CLIMATE CHANGE ARE IMPOSING
        AND WILL CONTINUE TO IMPOSE ENORMOUS COSTS ON YOUTH
        PLAINTIFFS .....................................................................................................................12 

V.      TRANSITIONING THE U.S. ECONOMY OFF OF FOSSIL FUELS IS NOT ONLY
        FEASIBLE BUT WILL BENEFIT THE ECONOMY .....................................................27 
        A.        TRANSITIONING OFF OF FOSSIL FUELS IS FEASIBLE ................................................27 
        B.        POLLUTION IS A CLASSIC EXTERNALITY THAT CAN BE COMBATED WITH STANDARD
                  ECONOMIC TOOLS THAT PROMOTE SOCIAL WELFARE ............................................33 
        C.        DEFENDANTS’ USE OF DISCOUNTING IN DECISION-MAKING UNDERESTIMATES THE
                  COSTS OF CLIMATE CHANGE ON YOUTH PLAINTIFFS AND FUTURE GENERATIONS
                  AND THE BENEFITS OF MITIGATION, WITH DELETERIOUS CONSEQUENCES .............41 

VI.     CONCLUSION ..................................................................................................................47 


EXHIBIT A: CURRICULUM VITAE

EXHIBIT B: PREVIOUS EXPERT TESTIMONY

EXHIBIT C: MATERIALS CONSIDERED




                                                                   i
        Case 6:15-cv-01517-TC     Document 266-1     Filed 06/28/18    Page 3 of 193




                    TABLE OF ACRONYMS AND ABBREVIATIONS


C:            Celsius

CAFE:         Corporate Average Fuel Economy

CAD:          Canadian Dollar

CBO:          Congressional Budget Office

CO2:          carbon dioxide

CPI:          consumer price index

EPA:          U.S. Environmental Protection Agency

GDP:          gross domestic product

GHGs:         greenhouse gases

IMF:          International Monetary Fund

IPCC:         Intergovernmental Panel on Climate Change

NASA:         National Aeronautics and Space Administration

NOAA:         National Oceanic and Atmospheric Administration

OECD:         Organisation for Economic Co-operation and Development

OMB:          Office of Management and Budget

ppm:          parts per million

R&D:          research and development

USGCRP:       U.S. Global Change Research Program




                                             ii
     Case 6:15-cv-01517-TC      Document 266-1       Filed 06/28/18     Page 4 of 193




I.   QUALIFICATIONS AND PROFESSIONAL BACKGROUND

1.   I am one of sixteen University Professors at Columbia University with joint appointments
     in the Faculty of Arts and Sciences (Department of Economics), the Graduate School of
     Business (Department of Finance), and the School of International and Public Affairs.
     Prior to assuming this position, I held professorships at Stanford University, Yale
     University, Princeton University, and the University of Oxford, where I taught a wide
     variety of graduate and undergraduate courses in economics and finance. I received my
     Ph.D. in Economics from MIT in 1967.

2.   Over the course of my career I have published hundreds of peer-reviewed articles, written
     or edited more than 50 academic and popular books, testified several times before
     Congress, and written numerous opinion pieces for newspapers and magazines. My
     publications and research have extended into many different areas, including
     macroeconomics and monetary theory, development economics and trade theory, public
     and corporate finance, industrial organization and rural organization, welfare economics,
     and income and wealth distribution, many of which are germane to this case. Oxford
     University Press is in the process of publishing a six-volume set based on my research,
     Selected Works of Joseph E. Stiglitz. The first two volumes have been published and are
     entitled Information and Economic Analysis: Basic Principles and Information and
     Economic Analysis: Applications to Capital, Labor, and Products Markets.

3.   Public economics and public finance, which study how governments raise funds and
     make expenditures, have been major pillars of my academic work. I served as a co-editor
     of the Journal of Public Economics, the leading economics journal dealing with matters
     of taxation and public economics, and have published broadly in this area. My textbook,
     Economics of the Public Sector, is a leading text first published in 1986 with the most-
     recent version released in 2015. Another of my books, Lectures on Public Economics,
     published in 1980 and reprinted in 2015 with a new introduction, has been widely
     translated. Many of my popular texts, including my recent books The Great Divide and
     The Price of Inequality, published in 2015 and 2012, respectively, critically examine our
     public institutions, and comment on public finance and public economics generally.




                                             1
       Case 6:15-cv-01517-TC          Document 266-1        Filed 06/28/18   Page 5 of 193




4.      Environmental economics and economic policy around natural resources has been
        another focus of my academic and professional work. I was one of the lead authors of the
        1995 Report of the Intergovernmental Panel on Climate Change, which shared the 2007
        Nobel Peace Prize with former Vice President Gore. I was co-chair of the High-Level
        Commission on Carbon Prices (we released our report in May 2017). I was also involved
        in environmental economic policy during my time on the Council of Economic Advisors,
        where one of my responsibilities was evaluating, designing, and implementing public
        policies that affect the environment, and while Chief Economist of the World Bank,
        where one of my responsibilities was evaluating and designing environmentally
        sustainable economic policies. I have also published many peer-reviewed articles that
        examine how we treat externalities (e.g., pollution) and public goods (e.g., the
        environment).

5.      I have received numerous fellowships and honors over my career. In 2001, I was
        awarded the Nobel Memorial Prize in Economics for my work on Information
        Economics.      This work includes the study of how information asymmetries affect
        economic behavior, the determination of the conditions under which efficient sharing of
        risk occurs, and the economics of financial markets, which are directly relevant to this
        case. In 1979, I was awarded the John Bates Clark Medal by the American Economic
        Association, given biennially to the economist under 40 who has made the most
        significant contribution to economics.1

6.      I was the founding editor of the Journal of Economic Perspectives. I have served (or am
        currently serving) on the Editorial Board of numerous journals, including The
        Economists’ Voice, the Journal of Globalization and Development, the World Bank
        Economic Review, the Journal of Public Economics, the American Economic Review, the
        Journal of Economic Theory, The Review of Industrial Organization, Managerial and
        Decision Economics, Energy Economics, the Review of Economic Design, and the Review
        of Economic Studies.




1
     The John Bates Clark Medal has been given annually since 2009.



                                                  2
      Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 6 of 193




7.    I served as President of the International Economic Association from 2011–2014 and as
      President of the Eastern Economic Association in 2008. I also served as Vice President
      of the American Economic Association in 1985.

8.    I have received more than 40 honorary degrees, and have received awards from foreign
      governments, including the Legion of Honor from France. I have also been elected to
      numerous academic and scientific societies in the United States and abroad, including the
      National Academy of Sciences, the Royal Society, the American Academy of Arts and
      Sciences, the American Philosophical Society, and the British Academy. In 2011, Time
      magazine named me to their Time 100 list as one of the 100 most influential people in the
      world.

9.    From 1993 to 1997, I served as a member of President Clinton’s Council of Economic
      Advisers, and from 1995 to 1997, as Chairman of the Council and a member of the
      President’s Cabinet. As Chairman and Cabinet Member, I was heavily involved in
      formulating fiscal policy, sustainable economic policies (including environmental
      economic policies), financial sector regulation and banking policy, and coordinating
      policy with the U.S. Treasury.

10.   From 1997 to 2000, I served as Chief Economist and Senior Vice President of the World
      Bank, in which capacity I had the responsibility of advising countries around the world
      on the design of fiscal, tax, and monetary policies, competition policies, sustainable
      economic policies (including those regarding natural resources and the environment),
      intellectual property regimes, financial regulations, and trade policy.

11.   I have served or am serving currently on many commissions and advisory committees
      addressing a myriad of economic policy issues, both in the U.S. and abroad, including the
      Joint CFTC-SEC Advisory Committee on Emerging Regulatory Issues, the United
      Nations’ International Labour Organization World Commission on the Social
      Dimensions of Globalization, the High Level Panel of the African Development Bank,
      and the Economic Advisory Panel in South Africa.

12.   At the behest of the President of the General Assembly of the United Nations, I served as
      Chair of the Commission of Experts on Reforms of the International Monetary and
      Financial System, to review the workings of the global financial system in the wake of


                                                3
      Case 6:15-cv-01517-TC       Document 266-1        Filed 06/28/18    Page 7 of 193




      the 2008 economic crisis and suggest steps for U.N. member states to secure a sustainable
      economic future. Our final report was published in September 2009. In addition, I was
      appointed President of the Commission on the Measurement of Economic Performance
      and Social Progress by President Sarkozy of France, in 2008. This commission was
      formed to consider flaws in traditional macroeconomic indicators measuring economic
      performance and social progress and consider what might be the more relevant metrics,
      which are relevant to this case. Our final report was released in September 2009.

13.   In 2000, I founded the Initiative for Policy Dialogue, for which I continue to serve as co-
      President. The Initiative for Policy Dialogue is a global network of academics and
      practitioners to enhance democratic processes for decision-making in developing
      countries. I am also Co-Chair of the High-Level Expert Group on the Measurement of
      Economic Performance and Social Progress, Organisation for Economic Co-operation
      and Development (OECD) and the Chief Economist of, and a Senior Fellow at, the
      Roosevelt Institute.

14.   Previously, I served as Chair of the Management Board at the Brooks World Poverty
      Institute at the University of Manchester, on the Board of Trustees of Amherst College,
      my undergraduate alma mater, and as Co-Chair of Columbia University’s Committee on
      Global Thought.

15.   I have provided expert testimony in various fora throughout the United States, and before
      foreign courts and international tribunals. I have submitted amicus curiae briefs before
      the Supreme Court of the United States and before U.S. Circuit Courts of Appeal. My
      expert testimonies have related broadly to financial markets and derivatives, taxes,
      antitrust and competition, patent enforcement, and public interest generally (e.g.,
      promotion of efficiency and/or minimization of welfare costs). I have also offered
      testimony regarding environmental economics, specifically, around offshore drilling.

16.   My curriculum vitae, which provides more details of my qualifications, including a list of
      my publications, is attached as Exhibit A. Exhibit B contains a list of my previous
      expert testimony within the last five years.       The materials that I, and volunteers
      supporting me at my direction, considered in preparing this report are cited in the
      footnotes and listed in Exhibit C.


                                               4
      Case 6:15-cv-01517-TC       Document 266-1        Filed 06/28/18     Page 8 of 193




17.   I am working pro bono to prepare this expert report. My usual rate for work in litigation
      matters is $2,000 per hour, which is the rate I will charge if another party seeks discovery
      under Federal Rule 26(b). I have no present or intended financial interest in the outcome
      of this matter. My work in this matter is ongoing, and I reserve the right to revise or
      augment the opinions set forth in this report should additional relevant information
      become available to me, or as I perform further analysis.




                                               5
        Case 6:15-cv-01517-TC            Document 266-1         Filed 06/28/18      Page 9 of 193




II.       ASSIGNMENT AND SUMMARY OF CONCLUSIONS

18.       Julia Olson and Philip Gregory, counsel for Plaintiffs in this matter, have asked me to
          provide my expert opinion on the economics of transitioning to a non-fossil fuel
          economy.2 In particular, I have been asked: (a) to analyze from an economic perspective
          how climate change will harm the Youth Plaintiffs (and Affected Children) if Defendants
          continue to pursue policies that perpetuate a fossil-fuel-based energy system and defer
          action to mitigate climate change; and (b) to assess the economic benefits of transitioning
          to a non-fossil-fuel economy now rather than later. The opinions expressed in this report
          are my own. All opinions expressed herein are to a reasonable degree of scientific
          certainty, unless otherwise specifically stated.

19.       I have formed four primary conclusions in this case, the bases for which are set forth
          more fully below:

          a. Scientific evidence shows further incremental increases in global temperature will
              lead to disproportionately greater costs imposed on our society. This has important
              consequences for how Defendants’ actions harm the Youth Plaintiffs and Affected
              Children more generally. Continuation of the national fossil fuel-based energy system
              by Defendants is causing imminent, significant, and irreparable harm to the Youth
              Plaintiffs and Affected Children more generally. This kind of environmental harm, by
              its nature, cannot be adequately remedied by money damages and is often permanent
              or at least of long duration, i.e., irreparable. There is a point at which, once this harm
              occurs, it cannot be undone at any reasonable cost or in any reasonable period of
              time. Based on the best available science, our country is close to approaching that
              point.3



2
      I understand that the plaintiffs in this litigation are young people, who I will refer to as the “Youth
      Plaintiffs.” However, my analysis also looks at the impact on other young people who are not named
      plaintiffs (and as-yet-unborn youth, the so-called future generations), but are just as (or even more)
      affected, whom I collectively refer to as “Affected Children.”
3
      This is a global problem. However, as I discuss below in Section V.B, the U.S. is a significant
      contributor to GHG emissions, and so actions by the U.S., have a significant impact on these global
      outcomes.



                                                      6
Case 6:15-cv-01517-TC       Document 266-1       Filed 06/28/18     Page 10 of 193




 b. Defendants’ continuing support and perpetuation of a national fossil fuel-based
    energy system and continuing delay in addressing climate change is saddling and will
    continue to saddle Youth Plaintiffs with an enormous cost burden, as well as
    tremendous risks, which is causing substantial harm to the economic and personal
    well-being and security of Youth Plaintiffs. These costs and risks will be borne over
    each ensuing year that progress towards remediation is not undertaken by Defendants.
    Such costs and risks arise both from damage caused by accumulated greenhouse gas
    emissions and from the required outlays on future remediation and adaptation efforts,
    which grow more expensive as the accumulation of greenhouse gases in the
    atmosphere increases. There are particularly consequential risks arising from the
    potentially catastrophic impacts of climate change, which increase each year that
    Defendants defer action on greenhouse-gas mitigation efforts.

 c. Moving the U.S. economy away from fossil fuels is both feasible and beneficial,
    especially over the next 30 years (as technological and scientific evidence discussed
    below makes clear).      Defendants could facilitate this transition with standard
    economic tools for dealing with externalities, for example a tax or levy on carbon (a
    price on the externality) and the elimination of subsidies on fossil-fuel production.
    Relatedly, decisions concerning the transition off of fossil fuels can be reached more
    systematically and efficiently by revising current government discounting practices,
    the methodology by which future costs are compared to present costs. Current and
    historical government decision making practices based on incorrect discount rates
    lead to inefficient and inequitable outcomes that impose undue burdens on Youth
    Plaintiffs and future generations. Basing decisions (policies, programs, and actions)
    on appropriate discount rates would help minimize the burdens that Defendants’
    current policies place on Youth Plaintiffs and future generations. That is to say, if
    Defendants’ discounting policies and practices more accurately reflected the expected
    changes in relative prices over time (and their distribution, implicitly putting a lower
    discount rate on climate change benefits), the basis for Defendants’ policy-making
    decisions would more closely align with economic principles and yield more efficient
    outcomes.




                                         7
        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 11 of 193




          d. Based on this reasoning, I conclude that Defendants can and should take meaningful
              actions to reduce GHG emissions from fossil fuels and mitigate climate change
              impacts now rather than defer action to some future date. Acting now will yield
              benefits for both Defendants and Youth Plaintiffs and reduce harm to Youth
              Plaintiffs, and the costs of mitigating climate change now are manageable.
              Defendants could make meaningful progress on climate change mitigation by acting
              today in accordance with the best available science. Moreover, Defendants meeting
              their constitutional and public trust obligations to redress climate change would
              improve societal well-being by any reasonable economic standard. In fact, some of
              the actions that Defendants could take to meet these obligations would actually have a
              negative cost. That is to say, in the long run, the net present value of benefits to
              society would exceed the net present value of costs that society would have to incur.4
              This is referred to as Kaldor–Hicks efficiency in standard economic analysis,
              typically a hallmark of sound policymaking, from an economic perspective, whereby
              the net benefits of a policy change outweigh the net costs of such policy change.
              Thus, if Defendants were to make such changes as are argued for by other of
              Plaintiffs’ experts, the net societal gain would more than outweigh the net societal
              loss. In contrast, Defendants’ current policies of perpetuating the fossil fuel-based
              energy system impose unacceptably high costs and risks on the Youth Plaintiffs
              specifically and Affected Children more generally, and will continue to do so, well
              out of portion to the amounts that Defendants save currently by avoiding taking the
              appropriate actions.

20.       The body of my report sets out the factual and analytical bases for my conclusions and
          opinions. The balance of my report proceeds as follows: Section III summarizes the
          scientific evidence on increasing greenhouse gases affecting global temperatures and why
          the time to act is now; Section IV discusses the costs that Youth Plaintiffs will face if
          Defendants continue to promote and permit a fossil-fuel-based energy system and no


4
      This is not to say that each party is better off (which would be a Pareto improvement); but those
      parties who are better off by the policy change (e.g.., non-polluters) are made better off by more than
      the parties made worse off by the policy change (e.g.., polluters) are made worse off.



                                                      8
         Case 6:15-cv-01517-TC           Document 266-1          Filed 06/28/18      Page 12 of 193




           actions (or insufficient actions) are taken to wean society off fossil fuels; Section V
           analyzes how the transition away from fossil fuels is feasible and can be facilitated with
           standard economic tools; and, finally, Section VI concludes.

III.       BACKGROUND ON THE RELATIONSHIP BETWEEN ATMOSPHERIC
           CONCENTRATIONS OF GREENHOUSE GASES AND CLIMATE CHANGE

21.        The climate change young people are experiencing today is caused by the historic
           emissions of carbon dioxide (CO2) and other greenhouse gases (GHGs), primarily from
           burning fossil fuels and other anthropogenic activities, including deforestation and
           agricultural practices.5 It is scientifically established that human activities produce GHG
           emissions, which accumulate in the atmosphere and the oceans, resulting in warming of
           Earth’s surface and the oceans6, acidification of the oceans,7 increased variability of
           climate, with a higher incidence of extreme weather events, and other changes in the
           climate.

22.        Dangerous impacts are already occurring from the current level of global warming of
           around 1C above preindustrial temperatures. Climate scientists have established through
           the paleo record that warming of 1.5C or 2C above pre-industrial levels would be well
           outside the Holocene range of global temperatures within which humans have lived and

5
       See, for example, Intergovernmental Panel on Climate Change, “Climate Change 2014: Synthesis
       Report Summary for Policymakers,” pp. 4-5. Other Greenhouse Gases, like Methane, also trap heat
       within the earth. They differ in key technical properties, like the rate of dissipation. Throughout this
       report, I use the terms GHG and CO2 emissions interchangeably.
       There is a popular but misguided debate among so-called climate “skeptics” about the extent to which
       the observed increase in temperature is a result of the emissions of CO2 and other GHGs. The
       scientific literature is clear (and has been clear for a long time): the increase in atmospheric
       concentration of GHGs predictably increases the Earth’s temperature in the manner observed. This
       has been most recently reaffirmed by “Climate Science Special Report: Fourth National Climate
       Assessment, Volume I” U.S. Global Change Research Program, November 2017, pp. 96-97
       https://science2017.globalchange.gov/downloads/CSSR2017_FullReport.pdf. (Hereinafter USGCRP
       Climate Science Special Report).
       But even if there were other factors contributing to climate change, the analysis here is unchanged:
       Defendants could, with mild costs, take actions now that would avoid imposing the undue and
       excessive burdens and risks imposed on the Youth Plaintiffs in this case.
6
       USGCRP Climate Science Special Report, p. 364.
7
       USGCRP Climate Science Special Report, pp. 371-372.



                                                        9
        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 13 of 193




          societies developed.8 Moreover, leading experts believe that there is already more than
          enough excess heat in the climate system to do severe damage and that 2C of warming
          would have very significant adverse effects, including resulting in multi-meter sea level
          rise.9 NOAA projects up to 0.63 m (2.1 feet) of sea level rise by 2050, 1.2 m (3.9 feet) by
          2070, 2.5 m (8.2 feet) by 2100, 5.5 m (18 feet) by 2150, and 9.7 m (31.8 feet) by 2200.10
          A 2-3 foot sea level rise would inundate and render uninhabitable large portions of the
          world’s barrier islands and deltas and place major pressures on the infrastructure of low-
          lying coastal zones like South Florida, and 3 feet of seal level rise would “permanently
          inundate 2 million American’s homes and communities.”11 Sea level rise of this
          magnitude would impose irreversible harm and an immense financial burden on young
          people in coastal areas, along with significant indirect costs on young people elsewhere.

23.       Experts have identified a number of known “feedback loops” in the climate system.
          These feedback loops cause warming to catalyze still further warming. For example,
          warmer arctic temperatures result in melting permafrost that releases methane, a GHG
          that further warms the planet. These feedbacks, in conjunction with the fact that CO2
          persists in the atmosphere for centuries, mean that the longer we delay action, the greater
          the risk that warming will trigger tipping points in the climate system and become
          irreversible, or reversible only at much increased cost. Given the self-reinforcing nature

8
      J. Hansen et al., “Assessing ‘’Dangerous Climate Change’: Required Reduction of Carbon Emissions
      to Protect Young People, Future Generations and Nature,” PLOS One, 8:12, e81648, 2013, p. 9.
9
      J. Hansen, et al., “Ice melt, sea level rise and superstorms: evidence from paleoclimate data, climate
      modeling, and modern observations that 2C global warming is highly dangerous,” Atmospheric
      Chemistry           and          Physics        Discussions,         15,        20059-179,        2015,
      http://faculty.sites.uci.edu/erignot/files/2017/06/Ice-melt-sea-level-rise-and-superstorms-evidence-
      from-paleoclimate-data-climate-modeling-and-modern-observations-that-2C-global-warming-is-
      highly-dangerous.pdf.
10
      “Global and regional sea level rise scenarios for the United States,” NOAA Technical Report NOS
      CO-OPS                  083,              January             2017,            p.            23,
      https://tidesandcurrents.noaa.gov/publications/techrpt83_Global_and_Regional_SLR_Scenarios_for_t
      he_US_final.pdf.
11
      H. Wanless, “Declaration of Dr. Harold R. Wanless in Support of Answer of Real Parties in Interest
      to Petition for Writ of Mandamus”, in United States of America et al. v. United States District Court
      for the District of Oregon et al., Case No. 17-71692, Doc. No. 14-3, paras. 31-32, citing “Global and
      regional sea level rise scenarios for the United States,” NOAA Technical Report NOS CO-OPS 083,
      January 2017.



                                                      10
       Case 6:15-cv-01517-TC          Document 266-1       Filed 06/28/18     Page 14 of 193




         of climate change, prompt action is needed to both minimize future emissions and reduce
         the effects of historic emissions.

24.      Experts have observed an increased incidence of climate-related extreme weather events,
         including increased frequency and intensity of extreme heat and heavy precipitation
         events and more severe droughts and associated heatwaves. Experts have also observed
         an increased incidence of large forest fires; and reduced snowpack affecting water
         resources in the western U.S. The most recent National Climate Assessment projects
         these climate impacts will continue to worsen in the future as global temperatures
         increase.12

25.      Although the scale of the problems and risks that we face are immense, it is possible to
         reduce these risks by acting now to avoid irreversible harm to essential natural systems
         with its catastrophic consequences such as sea level rise, increased ocean temperatures,
         ocean acidification, heat waves, increased drought, and the associated impacts on water
         quality and availability, human health, and agriculture. Such impacts would harm our
         economy directly and introduce much increased risk in the form of variability in and
         uncertainty around climate outcomes.

26.      Dr. Hansen and other experts in this case have provided a prescription for an emissions
         reduction and carbon sequestration pathway back to CO2 levels below 350 ppm by 2100,
         which they say would substantially lessen the risk of catastrophic sea level rise and other
         climate harms.13 Returning to temperatures and atmospheric CO2 levels that avoid
         dangerous anthropogenic climate change has a limited window (because of tipping points
         in the climate system), which is still open but is closing rapidly. Defendants must take
         action now to reduce these risks.




12
      USGCRP Climate Science Special Report, pp. 19-22.
13
      James Hansen et al., “Assessing ‘’Dangerous Climate Change’: Required Reduction of Carbon
      Emissions to Protect Young People, Future Generations and Nature,” PLOS One, 8:12, e81648, 2013.



                                                  11
        Case 6:15-cv-01517-TC            Document 266-1         Filed 06/28/18       Page 15 of 193




IV.       DEFENDANTS’ ACTIONS THAT PERPETUATE A FOSSIL FUEL ENERGY
          SYSTEM AND INSUFFICIENT ACTION ON CLIMATE CHANGE ARE
          IMPOSING AND WILL CONTINUE TO IMPOSE ENORMOUS COSTS ON
          YOUTH PLAINTIFFS

27.       The current national energy system, in which approximately 80 percent of energy comes
          from fossil fuels, is a direct result of decisions and actions taken by Defendants.14
          Defendants control and dictate the U.S. national energy policy in a myriad of ways. For
          example, they provide billions of dollars annually in subsidies to the fossil fuel
          industry;15 control the fuel economy of cars and trucks through the Corporate Average
          Fuel Economy (“CAFE”) standard; set efficiency standards for appliances; permit the
          extraction, transportation, import, export, and combustion of fossil fuels; and provide
          funding for research and development.16 The fact that the U.S. national energy system is
          so predominately fossil fuel-based is not an inevitable consequence of history. With the
          oil crises of the 1970s, recognition of the risks of dependence on oil was developed
          (though these risks were markedly different from those with which we are concerned
          today).    Even then, it was clear that there were viable alternatives, and with the
          appropriate allocation of further resources to R&D, it is likely that these alternatives
          would have been even more competitive. Thus, the current level of dependence of our
          energy system on fossil fuels is a result of intentional actions taken by Defendants over
          many years (including subsidization of fossil fuels and inactions in the form of not
          providing adequate support for alternatives).17 Cumulatively, these actions promote the
          use of fossil fuels, contribute to dangerous levels of CO2 emissions, and cause climate
          change. The economic impacts of these actions are deleterious to Youth Plaintiffs and
          the nation as a whole. In other words, Defendants’ actions promoting a fossil fuel based


14
      U.S. Energy Information Administration, Table 1.3 Primary Energy Consumption by Source, August
      2017                         Monthly                        Energy                     Review,
      https://www.eia.gov/totalenergy/data/browser/xls.php?tbl=T01.03&freq=m.
15
      See, Section V, below.
16
      “Direct Federal Financial Interventions and Subsidies in Energy in Fiscal Year 2013”, U.S. Energy
      Information                     Administration,                    March                    2015,
      https://www.eia.gov/analysis/requests/subsidy/pdf/subsidy.pdf.
17
      I would note that inactions in this sense are affirmative decisions by Defendants not to act.



                                                       12
        Case 6:15-cv-01517-TC           Document 266-1          Filed 06/28/18      Page 16 of 193




          energy system are serving to undermine the legitimate government interests of national
          security and economic prosperity that they purport to advance.18

28.       When conducting an economic analysis of the effects of climate change and appropriate
          responses thereto, Defendants must take into account a number of salient aspects of
          climate change. I have already noted some of these aspects: not just global warming in
          the sense of on-average increases in temperature, but also an increase in extreme (and
          damaging) weather events, rising sea levels, the public health consequences, and many
          other direct and indirect impacts of climate change. Still another aspect of climate
          change that is crucial in framing an appropriate response are the long lag times inherent
          in the climate system, implying that the full climate impact of any given accumulation of
          GHGs may not be apparent for many years.19 Moreover, critical to the effects (as already
          noted) is the increase in concentration of GHGs. The fact that GHGs dissipate very
          slowly from the atmosphere (particularly in the case of CO220) and that the costs of taking


18
      Daniel R. Coats, Director of National Intelligence, “Statement for the Record: Worldwide Threat
      Assessment of the US Intelligence Community,” Office of the Director of National Intelligence,
      February 13, 2018, https://www.intelligence.senate.gov/sites/default/files/documents/os-dcoats-
      021318.PDF (at page 16: “The impacts of the long-term trends toward a warming climate, more air
      pollution, biodiversity loss, and water scarcity are likely to fuel economic and social discontent—and
      possibly upheaval….”).
19
      Because of these lags, we have not yet seen the full rise in temperature that will occur as a result of
      the CO2 that has already been emitted. As noted above, the Earth’s average surface temperature has
      already risen by approximately 1C since the Industrial Revolution. The concentration of CO2 in the
      atmosphere is increasing at the rate of 2-3 ppm per year. Scientists tell us that even if CO2 were
      stabilized at current levels, there would be at least another 0.5C “in the pipeline.” The delayed
      response is known as climate lag. The reason the planet takes several decades to respond to increased
      CO2 is the thermal inertia of the oceans. Consider a saucepan of water placed on a gas stove.
      Although the flame has a temperature measured in hundreds of degrees C, the water takes a few
      minutes to reach boiling point. This simple analogy explains climate lag. The mass of the oceans is
      around 500 times that of the atmosphere. The time that it takes to warm up is measured in decades.
      For example, a paper by Dr. Hansen (and others) estimates the time required for 60 percent of global
      warming to take place in response to increased emissions to be in the range of 25 to 50 years. See,
      Hansen, J.E. et al., “Earth’s Energy Imbalance: Confirmation and Implications,” Sciencexpress, April
      28, 2004, http://science.sciencemag.org/content/early/2005/04/28/science.1110252.
20
      Accumulations of CO2 are particularly problematic because they dissipate so slowly. See, e.g.,
      “Carbon is forever,” Nature Reports Climate Change, November 20, 2008. This article discusses
      results from Dr. Hansen’s research, stating: “Several long-term climate models, though their details
      differ, all agree that anthropogenic CO2 takes an enormously long time to dissipate. If all recoverable
      fossil fuels were burnt up using today’s technologies, after 1,000 years the air would still hold around
                                                                                       Continued on next page


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        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 17 of 193




          CO2 out of the atmosphere through non-biological carbon capture and storage are very
          high21 means that the consequences of GHG emissions should be viewed as effectively
          irreversible. Accordingly, if Defendants do not take serious action to mitigate climate
          change now, Youth Plaintiffs and Affected Children will largely shoulder the costs
          caused by Defendants’ actions that contribute to the further accumulation of GHGs and
          Defendants’ failure to act to redress the harm. We can expect these burdens to manifest
          themselves in at least four ways.

29.       First, despite their relative lack of economic power in society today, Youth Plaintiffs
          themselves will suffer the disproportionate, increased financial burdens of climate change
          as the impacts of climate change propagate throughout the economy. For example, rising
          sea levels will lead to massive reductions in property value (indeed, the value of land that
          is underwater will fall to zero). Some Youth Plaintiffs, such as Levi D., and Affected
          Children will (with high probability) be deprived of the use of submerged lands, and
          many of them will almost surely experience large capital losses, as markets eventually
          fully reflect the realities of climate change. In addition, Youth Plaintiffs and Affected
          Children will, as future taxpayers, help bear the enormous cost of relocating the people
          and infrastructure that are now on this land to higher ground. Youth Plaintiffs and
          Affected Children will also bear the cost of instituting temporary stopgap measures, such
          as dikes to hold back rising sea levels, and some of them will have to bear directly
          themselves relocation costs.

Continued from previous page
      a third to a half of the CO2 emissions. ‘For practical purposes, 500 to 1000 years is ‘forever,’’ as
      Hansen and colleagues put it. In this time, civilizations can rise and fall, and the Greenland and West
      Antarctic ice sheets could melt substantially, raising sea levels enough to transform the face of the
      planet.”
21
      See, for example, House, K.Z., et al., “Economic and energetic analysis of capturing CO2 from
      ambient air,” Proceedings of the National Academy of Sciences, 108(51) (December 2011): 20428-
      20433, http://www.pnas.org/content/108/51/20428.full.pdf. The authors concluded: “Our empirical
      analysis of energetic and capital costs of existing, mature, gas separation systems indicates that air
      capture processes will be significantly more expensive than mitigation technologies aimed at
      decarbonizing the electricity sector. Unless a technological breakthrough that departs from
      humankind’s accumulated experience with dilute gas separation can be shown to “break” the
      Sherwood plot and the second-law efficiency plot—and the burden of proof for such a process will lie
      with the inventor—direct air capture is unlikely to be cost competitive with CO2 capture at power
      plants and other large point sources.”



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        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 18 of 193




30.       Second, Youth Plaintiffs and Affected Children will face increased burdens as taxpayers
          because, as Defendants and climate scientists project, climate change will increase future
          losses related to climate variability, sometimes of a catastrophic nature.22 In previous
          cases of catastrophic loss, society as a whole has borne much of the cost in the form of
          disaster relief payments from the public sector.23 Recent examples of catastrophes in
          which a large proportion of the losses were borne by the public sector include Hurricane
          Katrina, Hurricane Sandy, Hurricane Harvey, Hurricane Irma, and Hurricane Maria.
          Each of these disasters has (or will) cost the public sector billions of dollars in disaster
          relief. For instance, Hurricane Sandy cost the U.S. government over $50 billion, which is
          three times larger than the $18.7 billion of insured losses from that disaster, and over 70

22
      “The        Impact     of      Climate      Change       on     Natural   Disasters,”       NASA,
      https://earthobservatory.nasa.gov/Features/RisingCost/rising_cost5.php.  “Global Warming and
      Hurricanes,” National Oceanic and Atmospheric Association, https://www.gfdl.noaa.gov/global-
      warming-and-hurricanes/. “Climate Change Indicators: Weather and Climate,” EPA,
      https://www.epa.gov/climate-indicators/weather-climate. See also, K. Trenberth et al., “Attribution
      of climate extreme events,” Nature Climate Change 5 (2015): 725-730.
23
       “Potential Increases in Hurricane Damage in the United States: Implications for the Federal Budget”,
      Congressional Budget Office (CBO), June 2016, https://www.cbo.gov/sites/default/files/114th-
      congress-2015-2016/reports/51518-hurricane-damage.pdf.
      Public sector relief is needed in these cases because private risk-pooling solutions, such as property
      and casualty insurers, do not and cannot cover even a majority of the realized losses. This is true for
      three primary reasons. First, a significant portion of the population is uninsured or underinsured for
      certain types of losses such as the risk of flood, especially in areas that have not been historically
      prone to flooding. Second, public property may not be insured at all. Third, property and casualty
      insurers are sometimes insufficiently capitalized to cover the enormous losses that such events can
      potentially cause, and their insolvency forces policyholders to turn to the government for assistance.
      This point is illustrated by Hurricane Harvey in 2017, where some estimates of the costs run to nearly
      $200 billion, which represents about 1 percent of gross national product. See, e.g., Doyle Rice,
      “Harvey to be costliest natural disaster in U.S. history, estimated cost of $190 billion,” USA Today,
      August 31, 2017, https://www.usatoday.com/story/weather/2017/08/30/harvey-costliest-natural-
      disaster-u-s-history-estimated-cost-160-billion/615708001/ and Reuters, “Hurricane Harvey Damages
      Could       Cost       up     to     $180      Billion,”     Fortune,     September        3,    2017,
      http://fortune.com/2017/09/03/hurricane-harvey-damages-cost/. The Treasury Secretary went so far
      as to speculate that the Federal government’s debt limit would have to be raised to free up spending
      for disaster recovery, and the Governor of Texas estimated that such relief could require $180 billion.
      Id.
      Estimates for Hurricane Maria have been on the order of $100 billion. See, Jill Disis, “Hurricane
      Maria could be a $95 billion storm for Puerto Rico,” CNN, September 28, 2017,
      http://money.cnn.com/2017/09/28/news/economy/puerto-rico-hurricane-maria-damage-
      estimate/index.html.



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        Case 6:15-cv-01517-TC            Document 266-1         Filed 06/28/18       Page 19 of 193




            percent of the total economic damage of the disaster as estimated by the CBO.24
            Hurricane Katrina cost the U.S. government over $110 billion, 75 percent of the total
            economic damages of the disaster.25 With increased catastrophic losses due to climate
            change, we can expect that the U.S. government’s role as a safety net will expand.26 As
            this trend continues, taxpayers of the future, including Youth Plaintiffs, will have to make
            whole the losses of property owners. The continuation, let alone the expansion, of the
            public sector’s role as a safety net will be enormously costly, impose an increased burden
            and economic disadvantage on Youth Plaintiffs and Affected Children compared to older
            generations, and result in fewer government resources to be spent on public services.27

31.         The National Centers for Environmental Information tracks the impact of weather events
            on the United States. As they report, from 1980 to 2017 the U.S. has experienced “219
            weather and climate disasters since 1980 where overall damages/costs reached or
            exceeded $1 billion (including CPI adjustment to 2017). The total cost of these 219
            events exceeds $1.5 trillion.”28 (Emphasis in original.) In describing the impact on the
            U.S. in 2017 (the last full year):29




24
      “Catastrophes: U.S.,” Insurance Information Institute, http://www.iii.org/fact-statistic/catastrophes-us.
      “Potential Increases in Hurricane Damage in the United States: Implications for the Federal Budget”,
      Congressional Budget Office (CBO), June 2016, https://www.cbo.gov/sites/default/files/114th-
      congress-2015-2016/reports/51518-hurricane-damage.pdf.
25
      “Potential Increases in Hurricane Damage in the United States: Implications for the Federal Budget,”
      Congressional Budget Office (CBO), p. 17, https://www.cbo.gov/sites/default/files/114th-congress-
      2015-2016/reports/51518-hurricane-damage.pdf.
26
       “Underinsurance of Property Risks: Closing the Gap,”                     Swiss    Re,    No.    5/2015,
      http://institute.swissre.com/research/overview/sigma/5_2015.html.
27
      The CBO estimates that, by 2075, hurricane losses alone will total 0.22 percent of GDP, or $39
      billion in 2016 dollars, an increase of 40 percent from today’s annual levels, and over half of that loss
      will be borne by the U.S. government. “Potential Increases in Hurricane Damage in the United States:
      Implications      for       the      Federal     Budget,”       Congressional       Budget       Office,
      https://www.cbo.gov/sites/default/files/114th-congress-2015-2016/reports/51518-hurricane-
      damage.pdf.
28
      “Billion-Dollar Weather and Climate Disasters: Overview,” National Centers for Environmental
      Information, 2018, https://www.ncdc.noaa.gov/billions/.
29
      Id.



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        Case 6:15-cv-01517-TC          Document 266-1         Filed 06/28/18     Page 20 of 193




                  In 2017, there were 16 weather and climate disaster events with losses
                  exceeding $1 billion each across the United States. These events included
                  1 drought event, 2 flooding events, 1 freeze event, 8 severe storm events, 3
                  tropical cyclone events, and 1 wildfire event. Overall, these events
                  resulted in the deaths of 362 people and had significant economic effects
                  on the areas impacted.

32.       As the above makes clear, it is not just hurricanes that can cause such costly events. The
          2017 wildfire season in California was particularly harsh. Insurance claims at the end of
          2017 were approximately $9.4 billion (with many properties being underinsured or not
          insured, the total damage is higher),30 and estimates of the total impact on economic
          activity were $180 billion (including damages, closures, costs to fight fires, lost sales,
          etc.).31 In 2016, Canada had a similar experience in Fort McMurray, Alberta; insurance
          payments were the costliest in Canadian history at CAD 3.58 billion,32 and this covered
          only 70 percent of the total economic loss.33 Particularly insidious with forest fires is that
          they also lead to massive injections of CO2 into the atmosphere. As the Climate Science
          Special Report (a compilation by the U.S. Global Change Research Program, spanning
          multiple government agencies) noted about the Alberta wild fires specifically: “They can
          also radically increase emissions of greenhouse gases, as demonstrated by the amount of
          carbon dioxide produced by the Fort McMurray fires of May 2016—more than 10% of
          Canada’s annual emissions.”34 The federal government expends significant financial



30
      W. Richter, “We may never be able to know the true cost of California’s massive wildfires,” Business
      Insider, December 7, 2017, http://www.businessinsider.com/santa-rosa-california-fires-cost-damage-
      2017-12.
31
      “AccuWeather predicts 2017 California wildfire season cost to rise to $180 billion,” AccuWeather,
      December 8, 2017, https://www.accuweather.com/en/weather-news/accuweather-predicts-2017-
      california-wildfire-season-cost-to-rise-to-180-billion/70003495.
32
      “Northern Alberta Wildfire Costliest Insured Natural Disaster in Canadian History – Estimate of
      insured losses: $3.58 billion,” Insurance Bureau of Canada, July 7, 2016,
      http://www.ibc.ca/ab/resources/media-centre/media-releases/northern-alberta-wildfire-costliest-
      insured-natural-disaster-in-canadian-history.
33
      W. Koblensky, “Fort McMurray in top 10 worst insured losses globally,” Insurance Business Canada,
      March 29, 2017, http://www.insurancebusinessmag.com/ca/news/environmental/fort-mcmurray-in-
      top-10-worst-insured-losses-globally-63960.aspx.
34
      USGCRP Climate Science Special Report, p. 415.



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       Case 6:15-cv-01517-TC           Document 266-1        Filed 06/28/18      Page 21 of 193




         resources each year on both fire suppression efforts and in the aftermath of wildfires, and
         while costs do vary from year to year, in general, they are rising.35

33.      Other potential examples include agricultural losses.            Whether or not insurance
         reimburses farmers for their crops, there can be food shortages that lead to higher food
         prices (that will be borne by consumers, that is, Youth Plaintiffs and Affected Children).
         There is a further risk that as our climate and land use pattern changes, disease vectors
         may also move (e.g., diseases formerly only in tropical climates move northward).36 This
         could lead to material increases in public health costs in terms of vaccinations and
         treatments, at least some portion of which will be borne by future taxpayers, i.e., Youth
         Plaintiffs and Affected Children. Moreover, the Youth Plaintiffs and Affected Children
         will be at risk of experiencing directly one or more of these increased health hazards,
         only a portion of the costs of which will be picked up by insurance or public assistance.
         There is a risk too that the increased health costs will be reflected in increased insurance
         premiums, affecting all those relying on private insurance, including some or all of the
         Youth Plaintiffs and Affected Children.

34.      All of these factors will also lead to increasing inequality, as those with financial means
         are more able to privately bear the costs of these disasters, while those without financial
         means will not. Those with means will also be able to relocate, perhaps avoiding (for
         themselves) the burdens of rising sea levels. This will impose a greater burden on those
         less able to pay for the direct, local consequences of climate change. Such increasing
         inequality is bad not only for those made worse off, but also for society as a whole, as a
         more unequal society is one with poorer economic performance.37 This will impose


35
      See, e.g., K. Hoover & B. Lindsay, “Wildfire Suppression Spending: Background, Issues, and
      Legislation in the 115th Congress,” Congressional Research Service, October 5, 2017,
      https://fas.org/sgp/crs/misc/R44966.pdf.
36
      See, e.g., G. Mercer, “The Link Between Zika and Climate Change,” The Atlantic, February 24, 2016,
      https://www.theatlantic.com/health/archive/2016/02/zika-and-climate-change/470643/.
37
      See, e.g., OECD, “Inequality hurts economic growth, finds OECD research,” September 12, 2014,
      http://www.oecd.org/newsroom/inequality-hurts-economic-growth.htm and Prakash Loungani and
      Jonathan D. Ostry, “The IMF’s Work on Inequality: Bridging Research and Reality,” IMF, February
      22,     2017,   https://blogs.imf.org/2017/02/22/the-imfs-work-on-inequality-bridging-research-and-
      reality/ (“Another important conclusion of IMF research: rising inequality poses risks to durable
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        Case 6:15-cv-01517-TC            Document 266-1          Filed 06/28/18       Page 22 of 193




          further costs on the Youth Plaintiffs and Affected Children as they have to adapt to a
          structurally weaker economy due to increasing inequality (as elaborated on below,
          inequality is also exacerbated by Defendants’ subsidy system that takes from taxpayers
          and gives to fossil-fuel corporations).

35.       Third, Youth Plaintiffs will face increased burdens because the more time that passes, the
          more expensive it becomes to address climate change.38 It is highly likely that, as the
          consequences and magnitude of climate change become manifest, there will finally be a
          global consensus for a globally equitable and efficient response.39 At that juncture, the
          only way to prevent the accumulation of greenhouse gases beyond a tolerable level will
          be “negative emissions,” i.e. taking carbon out of the atmosphere, effectively attempting
          to undo the damage that is currently being done.40 That will be enormously expensive
          relative to what it would have cost to begin curtailing emissions today.41 Further, there is
          no guarantee that Youth Plaintiffs will be able to timely and effectively repair this


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      economic growth. This puts addressing inequality squarely within the IMF's mandate to help
      countries improve economic performance.”).
38
      See, e.g., “Climate change in the United States: Benefits of Global Action”, EPA. Beccherle, Julien
      and Tirole, Jean, “Regional Initiatives and the Cost of Delaying Binding Climate Change
      Agreements”, Journal of Public Economics 95 (December 2011): 1339-1348. Jakob, Michael and
      Tavoni, Massimo, “Time to act now? Assessing the costs of delaying climate measures and benefits
      of early action”, Climate Change 114 (2012): 79-99.
39
      See, for example, Climate change in the United States: Benefits of Global Action, EPA,
      https://www.epa.gov/sites/production/files/2015-06/documents/cirareport.pdf.
40
      See, for example, “The cost of delaying action to stem climate change,” Executive Office of the
      President      of        the       United         States,        July      2014,        p.       13,
      https://obamawhitehouse.archives.gov/sites/default/files/docs/the_cost_of_delaying_action_to_stem_
      climate_change.pdf.
41
      Even as these costly actions to undo the damage are undertaken, the effects of failing to act now will
      likely be felt, in ways described earlier in this report. Each and every one of the Youth Plaintiffs will
      face a risk of being personally affected, e.g., by increased taxes, increased direct losses, and increased
      exposure to health risks and to climate variability itself.
      A recent estimate pegged the costs of CO2 extraction to be on the order of $8 to $18.5 trillion, or over
      $100 billion per year over 80 years, to return to a 350 ppm target by 2100. These costs are much
      higher with continued high emissions (i.e., if we do not cease fossil fuel use and rely only on carbon
      capture and storage), being on the order of $100 trillion or more. See, J. Hansen et al., “Young
      People’s Burden: Requirement of Negative CO2 Emissions,” Earth System Dynamics, vol. 8, 2017,
      pp. 577-616, at 591-592.



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        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18      Page 23 of 193




          damage. In other words, the actions of Defendants in promoting and perpetuating a fossil
          fuel-based energy system impose a disproportionately higher financial burden and
          economic disadvantage on Youth Plaintiffs and Affected Children, undermining their
          economic security and depriving them of the stronger economy that they would have had
          in the absence of unmitigated climate change.

36.       Fourth, in the absence of mitigation efforts, there is a significant risk of catastrophic
          impacts of climate change; indeed, there is overwhelming evidence that such catastrophic
          impacts are likely to result. Defendants’ failure to invest in climate change mitigation
          and thereby insure against that outcome imposes an enormous degree of risk on Youth
          Plaintiffs, not experienced by older generations. Events such as the rapid melting of ice
          sheets and consequent increases in global sea levels or temperature increases on the
          higher end of the range of scientific forecasts have the potential to entail severe, perhaps
          even irreparable, consequences.42        To confront properly the possibility of climate
          catastrophes, Defendants must take prudent steps now to reduce the chance of the most
          severe consequences of climate change. The longer Defendants postpone such action, the
          greater will be the atmospheric concentration of GHGs and the risk (due to the self-
          reinforcing and path-dependent43 nature of climate systems and long lags between actions
          and results, as discussed above). Just as businesses and individuals guard against severe
          financial risks by purchasing various forms of insurance, Defendants can take actions
          now that reduce the chances of triggering the most severe climate events. There is no
          third party from which Defendants could purchase insurance to protect Youth Plaintiffs
          from the damages that are consequent to Defendants’ actions. The only alternative for
          Defendants is to take actions without delay to reduce the atmospheric concentration of
          CO2 in order to restore Earth’s energy balance and avert catastrophic and irreversible




42
      See, Section III, above.
43
      By path dependence, I mean that prior actions affect the future trajectory of the economy in ways that
      are not irreversible, or reversible only at high costs. Accordingly, what is a prudent strategy today
      depends on decisions made yesterday (and many years ago). Put differently, prior decisions are not
      something that we can now just walk away from; those prior decisions directly affect the world we
      live in today and affect the analysis of what is a prudent strategy going forward.



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        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18      Page 24 of 193




          climate change impacts.44 Unlike conventional insurance policies, climate and energy
          policy that serves the purpose of climate insurance also results in cleaner air, improved
          energy security, and other benefits, many of which are difficult to monetize, like
          biological diversity or preserving culturally important places, but are nonetheless
          significant.

37.       The benefits of undertaking such actions are disproportionate to the costs, even without
          taking account of the huge benefits that arise from the reduction of risk itself. This has
          been documented, for example, in the High-Level Commission on Carbon Prices.45 Due
          to feedback loops, the magnitude of climate change may change much more than the
          proportionate increase in atmospheric concentrations of GHGs. Likewise, the increases
          in atmospheric concentrations of GHGs may increase disproportionately relative to
          emissions,46 and the cost of damage wrought by climate change can increase much faster
          still.47 More is being learned about the behavior of the climate system, including the
          potential timing and likelihood of these worst-case scenarios. However, the paleo-climate
          record gives scientists at least one good indication of the consequences of different levels
          of atmospheric CO2. The last time in the geologic record that CO2 levels were over 400
          ppm, the seas were 70-90 feet higher than sea level today.48 The experience of the last

44
      J. Hansen, “Exhibit A: Declaration of Dr. James E. Hansen in Support of Plaintiffs’ Complaint for
      Declaratory and Injunctive Relief,” in Juliana et al. v. United States et al., Case No. 6:15-cv-01517-
      TC, Doc. No. 7-1., 2015, paras. 39, 67, 85.
45
      The Commission showed that even a modest tax on carbon combined with the elimination of
      subsidies and certain other regulatory measures and modest public investments would be able to
      prevent a rise of temperature beyond the 1.5C to 2C.
46
      See, for example, “The study of Earth as an integrated system,” NASA,
      https://climate.nasa.gov/nasa_science/science/ and National Research Council of the National
      Academies, “Climate Change: Evidence, Impacts, and Choices,” The National Academies of
      Sciences,         Engineering,                 and       Medicine,     2012,       http://nas-
      sites.org/americasclimatechoices/files/2012/06/19014_cvtx_R1.pdf.
47
      This is discussed in the Stern Review. See, for example, Figure 6.6 showing the exponential increase
      in reduced GDP per capita as global mean temperature increases. Nicholas Stern, “Stern Review: The
      Economics      of     Climate    Change”,     p.   159,    http://unionsforenergydemocracy.org/wp-
      content/uploads/2015/08/sternreview_report_complete.pdf.
48
      H. Wanless, “Declaration of Dr. Harold R. Wanless in Support of Answer of Real Parties in Interest
      to Petition for Writ of Mandamus”, in United States of America et al. v. United States District Court
      for the District of Oregon et al., Case No. 17-71692, Doc. No. 14-3, para. 52.



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        Case 6:15-cv-01517-TC            Document 266-1          Filed 06/28/18        Page 25 of 193




          quarter century is that there have been many surprises of underestimating adverse climate
          impacts (e.g., early estimates of sea level rise had not taken into account the effect of the
          melting of the arctic icecap or the release of methane gases from the tundra).49

38.       Fair treatment of Youth Plaintiffs by Defendants requires taking due account of some of
          the worst, but still plausibly possible, cases. In such cases, national income will be lower
          because of the adverse effects of climate change,50 imposing doubly an increased
          financial burden and economic disadvantage on Youth Plaintiffs and Affected Children:
          they will face the costs of remediation and adaptation with fewer resources with which to
          do so. Even if national incomes continue to rise in real terms, the costs of taking remedial
          climate action are an ever-increasing burden on Youth Plaintiffs and Affected Children as
          well. Moreover, as discussed in the climate science summary above, we are quickly
          approaching (or some argue we may have already passed) certain “tipping points” that
          will dramatically increase costs in a non-linear fashion.51 Thus, it is not a practical
          solution to say Youth Plaintiffs and future generations may be more wealthy in the future
          (in fact, GDP may be lower in the future because of climate effects) and can bear the
          costs more efficiently than Defendants today (because those costs continue to increase
          disproportionately and have long-lasting adverse effects).             The assumption of ever-
          increasing national income has significant implications for Defendants’ cost-benefit


49
      See, for example, Schneider, Stephen H. and Root, Terry L. Ecological implications of climate
      change will include surprises, Biodiversity and Conservation 5 (1996): 1109-1119.
50
      In one recent study, researchers found that temperature change due to unmitigated global warming
      will leave global GDP per capita 23 percent lower in 2100 than it would be without any warming. See
      Burke, M., Hsiang, S. M., & Miguel, E., (2015) “Global non-linear effect of temperature on economic
      production,” Nature, 527 (7577): 235-239.
      A per capita 23 percent lowering of GDP is the on-average result, which understates the full potential
      impact in two ways (much as the on-average temperature increases understate the increase in
      catastrophic events, as I discussed above). First, a 23 percent on-average result includes many states
      of the world where the average may be much worse. Second, a 23 percent on-average result will not
      affect all persons or all regions equally; those near the bottom of the income distribution that have no
      savings will suffer from lack of ability to consume, and almost surely these effects will be felt more in
      coastal regions, from which those near the bottom of the income distribution will lack the financial
      resources to relocate, further exacerbating their financial difficulties.
51
      See      also,    “The     study    of     Earth      as     an     integrated     system,”      NASA,
      https://climate.nasa.gov/nasa_science/science/.



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        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 26 of 193




          analysis and development of discount rates and the social cost of carbon, as described in
          more detail in Section V.C, below.

39.       Moreover, it will be necessary to devote a significant proportion of national income to
          dealing with the consequences of climate change; the standard term is that there will be
          high costs of adaptation.52 Especially disturbing are the impacts on developing countries,
          many of which are in tropical zones, which will be particularly hard hit. In the U.S.,
          Youth Plaintiffs will not be able to insulate themselves from the global repercussions.
          The costs of adaptation to climate change by developing countries are well beyond
          anything that those countries can afford (or will be able to afford in the future). Youth
          Plaintiffs may recognize that they have a moral responsibility to global citizens elsewhere
          in the world because of the actions of the U.S., including Defendants, and thus they will
          bear a burden because of the failure of Defendants to take appropriate actions.53
          However, even were they not to do so, the markedly lower incomes in developing
          countries will set off large migration pressures, which we are already seeing today.54


52
      According to the United Nations Environment (UNEP) report, the cost of adapting to climate change
      in developing countries could rise to between $280 and $500 billion per year by 2050. There will be a
      significant financing gap unless new and additional finance for adaptation is made available. See
      UNEP 2016. The Adaptation Finance Gap Report 2016. United Nations Environment Programme
      (UNEP), Nairobi, Kenya
53
      Of course, Defendants do not control global climate emissions. The U.S. is the second-largest current
      emitter of CO2 at 15 percent of global emissions (behind only China), and by far the largest historical
      emitter of CO2 and GHGs. See, EPA, “Global Greenhouse Gas Emissions Data,” United States
      Environmental Protection Agency, data as of 2014, https://www.epa.gov/ghgemissions/global-
      greenhouse-gas-emissions-data#Country and J. Gillis and N. Popovich, “The U.S. Is the Biggest
      Carbon Polluter in History. It Just Walked Away From the Paris Climate Deal,” The New York Times,
      June 1, 2017, https://www.nytimes.com/interactive/2017/06/01/climate/us-biggest-carbon-polluter-in-
      history-will-it-walk-away-from-the-paris-climate-deal.html.
      However, action by the world’s largest historical contributor of GHGs and the world’s largest
      economy (the U.S.) would help further the goals of the Paris agreement and other countries’ efforts to
      reduce GHG emissions. Moreover, it could reduce the incentive for other countries to shirk their
      climate change efforts by attempting to gain a competitive edge by not addressing climate change (a
      race to the bottom, so to speak). In any event, however, the fact that other countries, particularly
      developing countries, may not take as strong as action as is needed is not justification for Defendants
      using out-dated economic models and analysis to foist high costs on Youth Plaintiffs and Affected
      Children more generally.
54
      See, for example, Coral Davenport and Campbell Robertson, “Resettling the First American ‘Climate
      Refugees,’” The New York Times, May 3, 2016, https://www.nytimes.com/2016/05/03/us/resettling-
                                                                                       Continued on next page


                                                      23
        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18       Page 27 of 193




          Managing this migration (including possibly putting up hard-and costly-to-enforce
          barriers to it) will impose large costs on Youth Plaintiffs, undermining their economic
          security.55 Moreover, in a globally interconnected system, lower incomes abroad will
          adversely affect the demand for American goods and services, thereby reducing U.S.
          GDP from what it otherwise would be, with consequent risks for Youth Plaintiffs and
          Affected Children.

40.       I understand that Defendants argue their policies were necessary for the economic and
          national security of the U.S.56 Such arguments do not withstand economic scrutiny.
          Whatever benefits might have existed in the middle of the 20th century, it has been
          decades since such policies were rational. This has been recognized by leading security
          experts. For example, since at least 2007, members of the U.S. military have recognized
          that “serious consequences to our national security … are likely from unmitigated climate




Continued from previous page
      the-first-american-climate-refugees.html and Aryn Baker, “How Climate Change is Behind the Surge
      of Migrants to Europe,” Time, September 7, 2015, http://time.com/4024210/climate-change-
      migrants/.
55
      As discussed in the Stern Review, some estimates suggested up to 200 million people may become
      permanently displaced by climate change by the middle of this century, noting that almost as many
      people leave their homes because of environmental disasters as flee political oppression. See,
      Nicholas Stern, “Stern Review: The Economics of Climate Change”, p. 77,
      http://unionsforenergydemocracy.org/wp-content/uploads/2015/08/sternreview_report_complete.pdf.
      See also, K. Burrows & P. Kinney, “Exploring the Climate Change, Migration and Conflict Nexus,”
      International Journal of Environmental Research and Public Health 13(4) (2016): 443, noting that
      the number of people displaced by climate change by 2050 is estimated to be between 50 million, on
      the low end, and 1 billion, on the high end.
56
      See, e.g., “Office of Fossil Energy FY 2019 Budget,” U.S. Department of Energy,
      https://www.energy.gov/fe/about-us/our-budget (“The Office of Fossil Energy (FE) programs are
      focused on activities related to the reliable, efficient, affordable, and environmentally sound use of
      fossil fuels that are essential to our Nation’s security and economic prosperity.”).
      See also, Jason Furman and Gene Sperling, “Reducing America’s Dependence on Foreign Oil As a
      Strategy to Increase Economic Growth and Reduce Economic Vulnerability,” Obama White House
      Archives, August 29, 2013, https://obamawhitehouse.archives.gov/blog/2013/08/29/reducing-
      america-s-dependence-foreign-oil-strategy-increase-economic-growth-and-redu (“...the President’s
      focus on increasing America’s energy independence is not just a critical national security strategy, it
      is also part of an economic plan to create jobs, expand growth and cut the trade deficit.” The first
      element of President's Obama plan was “Increasing domestic production of oil.”).



                                                      24
       Case 6:15-cv-01517-TC        Document 266-1         Filed 06/28/18    Page 28 of 193




         change.”57 In a report released in 2007, eleven retired military generals and admirals
         detailed the variety of threats to America’s national and economic security that climate
         change poses:58

                In already-weakened states, extreme weather events, drought, flooding,
                sea level rise, retreating glaciers, and the rapid spread of life-threatening
                diseases will themselves have likely effects: increased migrations, further
                weakened and failed states, expanded ungoverned spaces, exacerbated
                underlying conditions that terrorist groups seek to exploit, and increased
                internal conflicts. In developed countries, these conditions threaten to
                disrupt economic trade and introduce new security challenges, such as
                increased spread of infectious disease and increased immigration. Overall,
                climate change has the potential to disrupt our way of life and force
                changes in how we keep ourselves safe and secure by adding a new hostile
                and stressing factor into the national and international security
                environment.

41.      From an economic perspective, one of the key insights is that, just at the time when
         money is scarce (and our economy is weak) because of climate change, there will be
         greater need for funds. Thus, government will be less able to provide the requisite
         finance for key public services, depriving Youth Plaintiffs and Affected Children of the
         economic benefits enjoyed by older generations. This makes it even more compelling for
         Defendants to take all the precautionary measures today that they can.

42.      As noted by the High-Level Commission on Carbon Prices (the “High-Level
         Commission”), which I co-chaired, the estimated economic costs of climate change in
         many of the standard models, and in particular Defendants’ estimates of the social cost of
         carbon (under the Obama administration), are:59




57
      “National Security and the Threat of Climate Change,” The CNA Corporation, 2007, p. 44,
      https://www.cna.org/cna_files/pdf/national%20security%20and%20the%20threat%20of%20climate%
      20change.pdf.
58
      “National Security and the Threat of Climate Change,” The CNA Corporation, 2007, pp. 44-45,
      https://www.cna.org/cna_files/pdf/national%20security%20and%20the%20threat%20of%20climate%
      20change.pdf.
59
      High-Level Commission on Carbon Prices, “Report of the High-Level Commission on Carbon
      Prices”, 2017, Washington, DC: World Bank, Appendix A.



                                                 25
      Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18      Page 29 of 193




              …biased downward because they fail to consider many vitally important
              risks and costs associated with climate change—particularly the
              widespread biodiversity losses, long-term impacts on labor productivity
              and economic growth, impacts on the poorest and most vulnerable, rising
              political instability and the spread of violent conflicts, ocean acidification,
              large migration movements, as well as the possibility of extreme and
              irreversible changes.

43.    Thus, it is prudent for Defendants to take precautionary actions, not based on the
       “average” estimate of what the damage might be, but rather based on estimates of
       realistically plausibly possible “worst cases.” Because, as detailed below, Defendants
       could take actions at modest costs, and it would be reckless not to undertake those
       actions; it would be needlessly endangering the future prospects and the economic and
       personal security of Youth Plaintiffs and Affected Children.




                                                26
        Case 6:15-cv-01517-TC            Document 266-1          Filed 06/28/18        Page 30 of 193




V.        TRANSITIONING THE U.S. ECONOMY OFF OF FOSSIL FUELS IS NOT
          ONLY FEASIBLE BUT WILL BENEFIT THE ECONOMY

          A.      TRANSITIONING OFF OF FOSSIL FUELS IS FEASIBLE

44.       There is broad consensus among economists, and the High-Level Commission concluded,
          that limiting temperature increase to “well below 2C” is achievable with reasonable and
          modest measures, and that the costs of those measures are far smaller than the costs of the
          damage that climate change could inflict.60

45.       The High-Level Commission estimated that the costs of curtailing emissions to a level to
          achieve the goals set forth by the Paris Agreement (“well below 2C”) would be
          modest.61 The High-Level Commission noted that the carbon tax, that they explained
          could induce the requisite change in emissions, could substitute for other more
          distortionary taxes. If governments made such a substitution, the aggregate cost of
          curtailing carbon emissions could even be less than zero, providing net benefits to the
          economy. Furthermore, at a time when so much discussion focuses on the Federal
          government’s deficit spending (and our national debt), the elimination of billions of
          dollars of often-hidden subsidies to the fossil fuel industry would improve the country’s
          fiscal situation and economic performance generally. As discussed below in Section
          V.B, the full amount of post-tax subsidies in the U.S. has been estimated at nearly $700
          billion a year, more than half of the Federal government’s forecasted deficit for the next
          fiscal year.62 Eliminating all fossil fuel subsidies (implicit and explicit, many of which




60
      High-Level Commission on Carbon Prices, “Report of the High-Level Commission on Carbon
      Prices”, 2017, Washington, DC: World Bank, p. 1.
61
      When I use the term “costs” here, I refer to the net effect of undertaking such policy changes—that is,
      such costs can be negative (when the benefits outweigh the costs). As is standard in economic
      analysis, I analyze the marginal effects, that is, the marginal (i.e., additional as compared to the status
      quo) net outlays that will be required for effectuating a given policy choice. Because certain policy
      choices can have long-term benefits that outweigh long-term costs, negative costs are a distinct
      possibility.
62
      Coady et al., “How Large Are Global Energy Subsidies?”, IMF Working Paper, Fiscal Affairs
      Department,       2015,      paper       and       underlying     data available      at:
      https://www.imf.org/en/News/Articles/2015/09/28/04/53/sonew070215a.
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                                                       27
        Case 6:15-cv-01517-TC           Document 266-1          Filed 06/28/18      Page 31 of 193




          go to large corporations) could, therefore, both curtail fossil-fuel production, through
          forcing companies to bear more of the true costs of fossil-fuel production, and
          substantially reduce our national deficit in one fell swoop.              Equity would also be
          improved with corporations paying more and individuals, such as the Youth Plaintiffs
          and Affected Children, benefiting.

46.       There are many reasons to be optimistic that emissions could be curtailed further than
          previously thought. These benefits are a result of continued technological development
          in the renewables sector.         Because of technological improvements, the costs of
          renewables and storage are decreasing. The price of solar panels has dropped by more
          than half in recent years (80 percent reduction from 2008 to 2016).63 In 2016 alone, the
          average dollar capital expenditure per megawatt for solar photovoltaics and wind dropped
          by over 10 percent.64 As these technologies continue to improve and the efficiency
          increases, while manufacturing costs drop, these technologies will more easily substitute
          for existing fossil fuel infrastructure.

47.       Transitioning to a non-fossil-fuel-based economy will require additional investment in
          our energy sector. Such sectoral shifts in our economy are not uncommon. In fact, a
          hallmark of a well-functioning market economy is its ability to shift between sectors as


Continued from previous page
      See also a report published by the Overseas Development Institute and Oil Change International,
      which found that as of 2014, the U.S. government provides approximately $20 billion annually in
      producer side subsidies through various tax exceptions/deductions.
      Doukas, Alex, “G20 subsidies to oil, gas and coal production: United States”, Overseas Development
      Institute,       2015,    https://www.odi.org/sites/odi.org.uk/files/odi-assets/publications-opinion-
      files/9979.pdf).
      With the recent tax cuts, the deficit is currently forecasted to be about $1 trillion in the next fiscal
      year. See, Associated Press in Washington, “US deficit to approach $1tn after Trump tax cuts and
      spending bill, CBO says,” The Guardian, April 9, 2018, https://www.theguardian.com/us-
      news/2018/apr/09/us-deficit-trump-tax-cuts-trillion-cbo-projection.
63
      See, e.g., Ryan Whitman, “We could be headed for a solar power renaissance as costs keep
      dropping,” ExtremeTech, December 19, 2016, https://www.extremetech.com/extreme/241300-
      headed-solar-power-renaissance-costs-keep-dropping.
64
      Frankfurt School-UNEP Centre/BNEF, “Global Trends in Renewable Energy Investment 2017,”
      2017,                                                                                 http://fs-unep-
      centre.org/sites/default/files/publications/globaltrendsinrenewableenergyinvestment2017.pdf.



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      Case 6:15-cv-01517-TC         Document 266-1       Filed 06/28/18     Page 32 of 193




        technology changes and demand fluctuates. For example, we have seen shifts from
        agriculture to manufacturing to services over the course of the twentieth century, and we
        saw a shift towards the financial sector (from less than 3 percent to over 8 percent of
        GDP) from the 1950s to its peak in 2006 (immediately before the financial crisis).65 Our
        spending on our energy sector has also fluctuated, as the chart below shows energy
        expenditures as a percent of GDP from 1970 to 2015. While the high levels of spending
        in the early 1980s (over 10 percent) were during periods of economic turbulence with
        high inflation and an energy crisis, there have been other periods, such as the 2000s and
        the early 1970s where there was economic growth and high spending on our energy
        system. Moreover, our economy has endured sudden, unplanned disruptions in the past
        (again, for example, the financial crisis); moving our economy to one without fossil fuels
        would come with a slight cost, but would be an event we can plan for to minimize
        disruptions (and would bring net benefits in the form of risk reduction).




65
     See, e.g., Robin Greenwood and David Scharfstein, “The Growth of Finance,” Journal of Economic
     Perspectives, 27(2) (Spring 2013): 3-28.



                                                29
          Case 6:15-cv-01517-TC                   Document 266-1               Filed 06/28/18            Page 33 of 193




                          Figure 1: Energy Expenditures as Share of GDP (Percent)
14%


12%


10%


     8%


     6%


     4%


     2%


     0%
       1970          1975         1980          1985         1990         1995         2000          2005         2010            2015
     Source:   U.S. Energy Information Administration, March 2018 Monthly Energy Review, Table 1.7 Primary Energy Consumption, 
     Energy Expenditures, and Carbon Dioxide Emissions Indicators.


48.         There are a number of important new “energy smart” technologies that can play a role in
            reducing dependence on energy, making our existing energy infrastructure more
            efficient.66 Smart grids, for example, can turn on appliances when renewable electricity
            is plentiful—and ramp down electric loads when renewable power wanes. Advanced
            energy storage technologies are increasingly diverse and many, like ice energy storage,
            are simpler and can be more cost effective than chemical batteries. Electric vehicles can
            also be considered “energy smart” technology, as their charging and discharging of
            batteries can be flexible, creating great potential to improve the efficiency of our national
            energy infrastructure. These technologies reduce overall energy consumption, so that
            even without the introduction of less carbon intensive energy sources, they can reduce


66
       Frankfurt School, UNEP Centre, “Global Trends In Renewable Energy Investment 2017,” http://fs-
       unep-centre.org/sites/default/files/publications/globaltrendsinrenewableenergyinvestment2017.pdf.



                                                                   30
        Case 6:15-cv-01517-TC          Document 266-1         Filed 06/28/18     Page 34 of 193




         carbon emissions. Many energy efficiency technologies actually have a negative cost to
         implement, especially if one includes in the costs the implicit costs associated with GHG
         emissions (costs to society that are currently externalized).67

49.      The major U.S. corporations that have committed themselves to dramatic emissions
         reductions—as well as state and local governments that have committed to emissions
         reductions—support the feasibility of a swift transition.68 Creating predictability is of
         significant economic value in aggressively seeking to reduce emissions; i.e., it makes
         clear to players in the future economy that they can plan accordingly with very high
         confidence. In addition, this greater certainty facilitates the production of goods and
         services at lower costs. For instance, the Chief Executive Officers of Apple, BHP
         Billiton, BP, DuPont, General Mills, Google, Intel, Microsoft, National Grid, Novartis
         Corporation, Rio Tinto, Schneider Electric, Shell, Unilever, and Walmart all called on the
         President to stay the course with respect to United States’ participation in the Paris
         Agreement.69 So too, were the Defendants to adopt a high and reliable price of carbon,
         households and firms would know that it paid economically to adopt low- or zero-
         emission technologies and products.

50.      In pursuing clean-energy technology, there is also the potential for increasing overall
         economic production and stimulating aggregate demand and economic growth. As I

67
      See, e.g., European Commission, “The Macroeconomic and Other Benefits of Energy Efficiency”,
      https://ec.europa.eu/energy/sites/ener/files/documents/final_report_v4_final.pdf.
68
      In 2017, for example, nine states making up the Regional Greenhouse Gas Initiative consortium
      agreed to a cap-and-trade program that seeks a 30 percent reduction in carbon pollution from energy
      plants by 2030. See, Colin Young, “9 states, including Mass., Agree to Accelerate Emission
      Reductions in Next Decade,” WBUR, August 23, 2017, http://www.wbur.org/news/2017/08/23/9-
      states-including-mass-agree-to-extend-carbon-reduction-goals-to-2030.
      Other state-driven strategies include California’s January 2018 announcement to have 5 million zero-
      emission vehicles in use by 2030; Hawaii mandating that all of the state’s electricity come from
      renewable sources by the mid-21st century; and Vermont’s commitment to reduce emissions to 80-95
      percent below 1990 levels by 2050. See, “U.S. Leads in Greenhouse Gas Reductions, but Some
      States are Falling Behind,” Environmental and Energy Study Institute, March 27, 2018,
      http://www.eesi.org/articles/view/u.s.-leads-in-greenhouse-gas-reductions-but-some-states-are-
      falling-behind.
69
      See, e.g., Center for Climate and Energy Solutions, “Top companies urge White House to stay in the
      Paris Agreement,” Center for Climate and Energy Solutions Press Release, April 2017,
      https://www.c2es.org/newsroom/releases/major-companies-urge-white-house-stay-paris.



                                                    31
       Case 6:15-cv-01517-TC           Document 266-1        Filed 06/28/18      Page 35 of 193




         wrote a few years ago in The Guardian, “retrofitting the global economy for climate
         change would help to restore aggregate demand and growth.”70 Consistent with this, the
         High-Level Commission, which I co-chaired with Lord Stern,71 found that “climate
         policies, if well designed and implemented, are consistent with growth, development, and
         poverty reduction. The transition to a low-carbon economy is potentially a powerful,
         attractive, and sustainable growth story, marked by higher resilience, more innovation,
         more livable cities, robust agriculture, and stronger ecosystems.”72

51.      However, instead of supporting existing clean energy technology that would benefit the
         economy and create jobs, Defendants are acting in ways to suppress and hinder clean
         energy, which also leads to job losses and harms the economy. For example, in January
         2018, President Trump approved tariffs on imported solar cells that start at 30 percent.
         The tariffs are unlikely to benefit American solar manufacturing jobs, but, according to
         the Solar Energy Industries Association, are likely to result in the loss of 23,000
         American jobs this year and the delay or cancelation of billions in solar investments. The
         tariffs are also expected to lead to a net reduction in solar installations by roughly 11
         percent between 2018 and 2022, a 7.6-gigawatt reduction in solar PV capacity, which
         means approximately 1.2 million homes will not be powered by renewable solar energy.
         Such tariffs are both harmful for the environment and the economy.73

52.      Not promptly undertaking actions to pursue clean-energy technology continues to expose
         Youth Plaintiffs and Affected Children to the risk of extreme costs and damages, not just
         from climate change itself, but from the required outlays on future remediation and
         adaptation efforts and a weaker, less efficient, and more expensive U.S. economy.

70
      Stiglitz, J., “Climate Change and Poverty Have Not Gone Away,” The Guardian, January 7, 2013,
      https://www.theguardian.com/business/2013/jan/07/climate-change-poverty-inequality
71
      Lord Stern succeeded me as Chief Economist of the World Bank and subsequently was a leading
      economic advisor to the UK Treasury, as Second Permanent Secretary and head of the Government
      Economic Service.
72
      High-Level Commission on Carbon Prices, “Report of the High-Level Commission on Carbon
      Prices,” 2017, Washington, DC: World Bank, p. 1.
73
      Julia Pyper, “New Tariffs to Curb US Solar Installations by 11% Through 2022,” Greentech Media,
      January 23, 2018, https://www.greentechmedia.com/articles/read/tariffs-to-curb-solar-installations-
      by-11-through-2022#gs.YNyvdYQ



                                                    32
       Case 6:15-cv-01517-TC         Document 266-1        Filed 06/28/18      Page 36 of 193




         B.        POLLUTION IS A CLASSIC EXTERNALITY THAT CAN BE COMBATED                       WITH
                   STANDARD ECONOMIC TOOLS THAT PROMOTE SOCIAL WELFARE

53.      Currently, around 80 percent of the energy consumed in the U.S. comes from fossil
         fuels.74 In contrast, renewable energy sources comprise 11 percent of total energy
         consumption. That percentage has only risen by 2 percent (9 to 11 percent) from 1949 to
         2017.75

54.      The burning of fossil fuels generates large amounts of pollution.           Pollution is the
         archetypal negative externality. In economics, an externality arises when the cost or
         benefit of an activity of one party imposes a cost or benefit on another. In the pollution
         example, the polluter makes a good (its primary activity), but in the course of doing so
         generates pollution that imposes a cost or burden on another (e.g., a fisherman who fishes
         in the waters that become polluted will catch fewer fish). A positive externality example
         might be a technological development that benefits more than the inventor alone (e.g., the
         developer of the worldwide web who made it freely available).

55.      The issue that arises with a negative externality is that the producer of the externality
         (e.g., the polluter) considers only their private costs when making production decisions
         and not the total costs of their activity (the costs borne by the polluter and the fisherman).
         Standard economic theory argues that private markets can be relied on to make efficient
         decisions, if, and only if, the (marginal private) costs confronting individuals equal the
         (marginal) social costs, and the (marginal private) benefits confronting them equal the
         (marginal) social benefits. When there is an externality, social and private costs and/or
         benefits are not aligned. A classic way to intervene in this situation is for government to
         tax the causes of negative externalities (thereby raising the effective private cost closer to




74
      U.S. Energy Information Administration, Table 1.3 Primary Energy Consumption by Source, March
      2018                         Monthly                        Energy                    Review,
      https://www.eia.gov/totalenergy/data/browser/xls.php?tbl=T01.03&freq=m.
75
      U.S. Energy Information Administration, Table 1.3 Primary Energy Consumption by Source, March
      2018                         Monthly                        Energy                    Review,
      https://www.eia.gov/totalenergy/data/browser/xls.php?tbl=T01.03&freq=m.



                                                  33
        Case 6:15-cv-01517-TC            Document 266-1          Filed 06/28/18        Page 37 of 193




          the social cost and forcing the producer to bear the full cost of their actions).76 Having a
          well-functioning price system—where price setters take into account all costs—is
          important for economic efficiency and overall social welfare.

56.       At present, the U.S. lacks a comprehensive carbon-pricing regime that accounts for the
          negative externalities of burning fossil fuels such that private markets can be relied on to
          make efficient decisions. Thus, producers and sellers of fossil fuels consider only their
          private costs and benefits, and the costs that their activities are imposing on society
          through, among other factors, increased GHG emissions and long-term climate effects of
          the sort I discussed earlier are not considered or internalized as part of the price.

57.       Beyond the lack of a comprehensive carbon-pricing regime, a faulty system that is full of
          hidden subsidies for fossil fuels, as noted above, hinders the transition towards a less
          carbon-intensive economy. These subsidies also accelerate and exacerbate the costs to
          Youth Plaintiffs from climate change.

58.       These subsidies take many forms. For instance, upstream oil and gas exploration and
          production companies in the U.S. receive several tax breaks that go beyond those
          afforded to businesses generally, such as deducting intangible drilling costs as a current
          business expense (not capitalized over the life of the well), depletion allowances,77 and
          offshore drilling tax royalty relief (which permits the claiming of foreign royalties as
          taxes (and makes them creditable against U.S. taxes) for taxpayers taxed in two
          countries). When companies make an investment, it is natural that they be allowed to
          depreciate the cost of the capital as a tax-deductible expense over the lifetime of the asset.


76
      Sometimes, governments have to rely on “second best” interventions. Thus, government can
      subsidize alternatives (or positive-externality activities), which lowers the effective price of substitute
      products. Lowering the price of a substitute product can have the effect of increasing demand for the
      substitute (e.g., clean energy) and reducing the demand for the original product (e.g., fossil fuel-based
      energy). But leaving the negative externality-generating activity without a “charge” for its external
      effects leaves a distortion in place.
77
      I have studied the economics of depletion allowances, together with Sir Partha Dasgupta, in my
      academic work. See, J.E. Stiglitz, “Monopoly and the Rate of Extraction of Exhaustible Resources,”
      The American Economic Review 66(4) (September 1976): 655-661 and P. Dasgupta and J.E. Stiglitz,
      “Uncertainty and the Rate of Extraction Under Alternative Arrangements,” Institute Mathematical
      Studies in the Social Sciences, tech. rep. no. 179 (September 1975).



                                                       34
        Case 6:15-cv-01517-TC           Document 266-1          Filed 06/28/18      Page 38 of 193




          But with depletion allowances, an oil company can deduct 15 percent of the revenue as a
          “depletion allowance,” regardless of the amount of investment it made to find the oil.78
          The company receives the depletion allowance—as if it invested money—even if it
          makes no investment. The value of this provision itself is enormous; some estimates say
          it could save the U.S. Treasury over $11 billion in 10 years if it were eliminated.79
          (Money not received by Treasury is, in effect, money given to the fossil fuel industry.)
          Coal companies can receive similar corporate tax reductions, and are able to purchase or
          lease land from Defendants at below market rates.80 These tax breaks artificially reduce
          the private cost of fossil fuels to producers and consumers (but not the social cost), which
          makes renewable sources of energy appear less competitive to consumers.81 In the U.S.,
          these tax breaks for fossil fuel companies have resulted in an economy heavily dependent
          on fossil fuels and infrastructure designed around fossil fuels.

59.       Similarly, at various times, oil, gas, and coal leases have been conducted in ways in
          which fossil fuel companies are able to obtain leases at prices far below what the
          competitive equilibrium price would be, depriving taxpayers of money they need for a
          variety of public purposes, while distorting the market to make participation in oil, gas,
          and coal more economically attractive.82 The efficient auctions that have been used in

78
      This provision dates to 1913. See, e.g., Rebecca Leber, “Happy 100th Birthday, Big Oil Tax Breaks,”
      Think Progress, March 1, 2013, https://thinkprogress.org/happy-100th-birthday-big-oil-tax-breaks-
      3c9731c4bc85/. See also, Seth Hanlon, “Big Oil’s Misbegotten Tax Gusher,” Center for American
      Progress,                           May                          5,                          2011,
      https://www.americanprogress.org/issues/economy/news/2011/05/05/9663/big-oils-misbegotten-tax-
      gusher/.
79
      See, Seth Hanlon, “Big Oil’s Misbegotten Tax Gusher,” Center for American Progress, May 5, 2011,
      https://www.americanprogress.org/issues/economy/news/2011/05/05/9663/big-oils-misbegotten-tax-
      gusher/.
80
      Doukas, Alex, “G20 subsidies to oil, gas and coal production: United States”, Overseas Development
      Institute,      2015,     https://www.odi.org/sites/odi.org.uk/files/odi-assets/publications-opinion-
      files/9979.pdf.
81
      Bridle, Richard, Kitson, Lucy, “The Impact of Fossil-Fuel Subsidies on Renewable Electricity
      Generation”, International Institute for Sustainable Development, December 2014,
      http://www.iisd.org/sites/default/files/publications/impact-fossil-fuel-subsidies-renewable-electricity-
      generation.pdf.
82
      This was the case, for instance, in the early 1980s, when large numbers of tracts were simultaneously
      put up for auctions, so many that the average tract had less than two bidders. I discussed some of the
                                                                                       Continued on next page


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       Case 6:15-cv-01517-TC            Document 266-1         Filed 06/28/18       Page 39 of 193




           other areas (e.g., for the auctioning of the electro-magnetic spectrum) were typically
           never used. A 2016 report from the President’s Council of Economic Advisors regarding
           coal leases recognized several of these points explicitly, noting, for example, that the coal
           leasing program “has been widely criticized in recent years by economic and
           environmental experts for providing a poor return to the taxpayer and for not adequately
           addressing the environmental costs of coal extraction, processing, and combustion.”83
           The report also found that previous and then-current policies of Defendants had
           misaligned incentives:     “the program has been structured in a way that misaligns
           incentives going back decades, resulting in a distorted coal market with an artificially low
           price for most Federal coal and unnecessarily low government revenue from the leasing
           program.”84 The report suggests that to fully reflect the social costs of coal extraction—
           i.e., price the externality completely—the costs are so high that the resulting royalty rate
           may be “well-over 100 percent.”85




Continued from previous page
     research in this instance in my Nobel lecture. See, J.E. Stiglitz, “Information and the Change in the
     Paradigm      in    Economics,”    Prize    Lecture,     December       8,   2001,    pp.   489-490,
     https://www.nobelprize.org/nobel_prizes/economic-sciences/laureates/2001/stiglitz-lecture.pdf.
     See also, J.J. Leitzinger and J.E. Stiglitz, “Information Externalities in Oil and Gas Leasing,”
     Contemporary Policy Issues 5 (March 1984): 44-57 and J.E. Stiglitz, “What is the Role of the State?”
     Chapter 2 in M. Humphreys, J.D. Sachs, and J.E. Stiglitz (eds.) “Escaping the Resource Curse,” 2007,
     Columbia University Press, pp. 23-52 at p. 31: “When competition for the resources is limited—and
     especially when it is known that it is limited—then the prices that prevail will be lower. There are
     three ways of limiting competition. The first is suddenly to put up for lease a large number of tracts—
     increase the supply so that the bidding on each tract is limited. This is what President Reagan did in
     the early 1980s. It was like a fire sale—as if the government had to get rid of its holdings
     immediately. But in fact, there was no reason for it; it was not as if the oil was going to disappear, or
     as if the United States needed to raise cash quickly. On a very large fraction of tracts, there was only
     one bidder (and, of course, the oil companies knew this). In a study I conducted with Jeff Leitzinger
     (1984) we quantified the impact on the price the government received. The government got a fraction
     of what it would have earned had the tracts been put up in a more orderly process, and the extra
     profits went into the coffers of the oil companies.”
83
      “The Economics of Coal Leasing on Federal Lands: Ensuring a Fair Return to Taxpayers,”
     Executive Office of the President of the United States, June 2016, at p. 2,
     https://obamawhitehouse.archives.gov/sites/default/files/page/files/20160622_cea_coal_leasing.pdf.
84
     Id.
85
     Id. at p. 29.



                                                     36
        Case 6:15-cv-01517-TC          Document 266-1         Filed 06/28/18      Page 40 of 193




60.       An important source of protection against global warming is carbon-sequestration—
          holding carbon in trees, plants, wetlands, or soils. Carbon molecules that are thus held
          are carbon molecules that are not in the atmosphere.86 There are large amounts of public
          land holding millions of acres of trees, but the government has an industry-driven policy
          framework in which (a) the timber industry, which acquires the right to cut down the
          timber, does not pay for the carbon costs of their activities; (b) the timber industry is
          typically subsidized through roads constructed by the Department of Agriculture, which
          manages these public forests; (c) the timber industry, like the fossil fuel industry, receives
          favorable tax benefits; and (d) the timber industry acquires these assets at prices that are
          below prices that would prevail in a competitive market that accounted for all private and
          public costs of logging.87

61.       The provision of these tax benefits and the sale and/or lease of these public assets at
          below competitive market prices by Defendants harms the U.S. today, and these Youth
          Plaintiffs and Affected Children, in multiple ways. The harm to the U.S. arises because
          improper pricing that ignores the externalities of logging leads to inefficient uses of
          forests, logs, and wood products that would not materialize if the price of logs reflected
          the carbon costs of cutting down the trees and releasing CO2 into the atmosphere. These
          actions by Defendants support the destruction of forests, which are needed to sequester
          CO2 (not to mention all the critical ecosystem benefits forests provide). The poorly
          functioning price mechanism deprives our society of governmental revenues that could
          be used for multiple purposes, including investment in emission reductions and
          investments in R&D that would facilitate the transition towards a green economy; and
          forces taxes to be imposed elsewhere, with distortionary costs—so that total costs to
          society are well in excess of the losses of tax revenues. The resulting weaker economy



86
      For a more thorough articulation of this framework, see J.E. Stiglitz, “Sharing the Burden of Saving
      the Planet: Global Social Justice for Sustainable Development: Lessons from the Theory of Public
      Finance,” Columbia University Academic Commons, https://doi.org/10.7916/D8KD24MX and Mary
      Kaldor and Joseph E. Stiglitz, eds., The Quest for Security: Protection without Protectionism and the
      Challenge of Global Governance, New York: Columbia University Press, pp. 161-190.
87
      See, e.g., “Congressional Subsidies for Private Logging,” Taxpayers for Common Sense, December
      13, 2001, http://www.taxpayer.net/library/article/congressional-subsidies-for-private-logging.



                                                     37
        Case 6:15-cv-01517-TC           Document 266-1         Filed 06/28/18      Page 41 of 193




          means that Youth Plaintiffs are inheriting an economy that is not only dirtier than it
          otherwise would have been, but also weaker.

62.       There are also indirect explicit subsidies that contribute to the continued reliance on fossil
          fuels, such as government investments and policies that promote emission producing
          methods of transportation or manufacturing.

63.       Another implicit subsidy granted by governments is to not charge the fossil fuel industry
          for the negative externalities they create, such as carbon emissions. As discussed above,
          carbon emissions, and pollution in general, are negative externalities that can affect
          society and the economy, yet the vast majority of negative-externality carbon emissions
          across the globe are not priced.88 Pricing CO2 emissions and emissions of other GHGs
          would greatly enhance revenues available to government to address a variety of societal
          needs, as I discussed in Section IV above. A basic principle of taxation is that it is better
          to tax bad things like pollution than good things like savings and work. Again, the
          resulting weaker economy means that Youth Plaintiffs are inheriting an economy that is
          not only dirtier than it otherwise would have been, but also weaker. In this instance, not
          only are Defendants not raising revenue in an efficient way (subsidizing rather than
          taxing carbon emissions), Youth Plaintiffs are burdened with the socioeconomic costs
          that arise with pollution, such as additional healthcare costs.

64.       Defendants have recognized for at least 40 years that these direct and indirect subsidies to
          fossil fuel producers hinder the adoption of renewable energy and improvements in




88
      See, e.g., High-Level Commission on Carbon Prices, “Report of the High-Level Commission on
      Carbon Prices,” 2017, Washington, DC: World Bank, at p. 35: “The carbon prices observed span
      from less than US$1/tCO2e to US$126/tCO2e, 85 percent of global emissions are not priced
      today…”
      Because all emissions generate externalities, for an efficient economy, all emissions should be taxed.
      In a few instances, the adverse effects of not taxing the emissions can be mitigated by the imposition
      of regulations.



                                                     38
       Case 6:15-cv-01517-TC          Document 266-1        Filed 06/28/18      Page 42 of 193




         renewable energy technologies. For example, a 1978 memo to President Carter regarding
         solar power found that:89

                 Widespread use of solar energy is also hindered by Federal and state
                 policies and market imperfections that effectively subsidize competing
                 energy sources. These policies include Federal price controls on oil and
                 gas, a wide variety of direct and indirect subsidies, and utility rate
                 structures that are based on average, rather than marginal costs. Also, the
                 market system fails to reflect the full social benefits and costs of
                 competing energy sources, such as the costs of air and water pollution.

65.      If Defendants stopped providing subsidies and/or implemented carbon pricing policies
         that allow the U.S. government to further fund research and development of green
         technologies to decarbonize the economy, such measures would have a large positive
         impact in the long term. These positive effects are not limited to mitigating the
         environmental effects; there are monetary gains, too. Some estimates of the financial
         benefit to the U.S. economy of accelerating technological developments for lowering
         carbon emissions suggest that they would amount to $1 trillion by 2050.90

66.      This monetary estimate does not take into account possible spillover effects from
         advancing technology that could provide further value to the economy (e.g., in the same
         way that the space race or developments in the world wars brought us many
         advancements in basic science that made their way into consumer and industrial
         products). Even without technological change, the net financial costs to the economy
         may be negative, taking into account the financial benefits of eliminating carbon
         subsidies and replacing them with carbon taxes and the consequent development of a
         more efficient low-carbon energy system.

67.      A short-term measure Defendants can readily implement is to cease approvals for any
         new fossil fuel infrastructure, pending completion of a national climate recovery plan.
         Any new coal projects or coal extraction harms Youth Plaintiffs.             For example, it

89
      Attachment to Memorandum from Jim Schlesinger to The President, “Domestic Policy Review of
      Solar Energy: A Response Memorandum to The President of the United States,” December 5, 1978,
      at p. iv.
90
      Richard G. Richels, Geoffrey J. Blanford, “The value of technological advance in decarbonizing the
      U.S. economy,” Energy Economics 30(6) (2008): 2930-2946, ISSN 0140-988.3.



                                                   39
      Case 6:15-cv-01517-TC          Document 266-1     Filed 06/28/18     Page 43 of 193




       increases GHG emissions locking in higher concentrations of GHGs in the atmosphere as
       Youth Plaintiffs grow up and live their lives, with all the attendant costs and impacts that
       I have described thus far. Enabling investments in long-lasting “fossil” infrastructure
       (like coal-burning power plants and oil and natural gas pipelines) means that for decades
       going forward, there will continue to be incentives to engage in costly carbon emissions.
       Once the plants are built, the owners have an incentive to continue using it to recover
       their investment (and in so doing, generate GHG emissions). Furthermore, should a
       fossil-fuel plant be shut down before the natural end of its economic life, there will be
       allegations of lost economic value (the owners’ private loss on their investment). Such
       allegations will become a political argument against taking further actions curbing
       emissions. (These arguments will almost surely be put forward even though the public
       benefits of shutting down the coal fired plants may be enormous—as I have noted—and
       even though a standard argument in economics is that bygones-are-bygones. Mistaken
       investments in the past should not continue to justify distorted power generation.
       Elsewhere, however, the “politics” of stranded assets has played an important role—that
       is to say; private owners of large, sunk investments have (successfully) argued for
       preferential treatment for them to recoup their private investments, despite the attendant
       social costs.)

68.    I should also respond to an expected argument from Defendants that, even if the U.S.
       were to lower its GHG emissions, other countries would increase their production of
       goods that create GHGs. This might be referred to as a “substitution” argument. There
       are two rejoinders to this:

       a. First, I turn to standard economic theory. That is, that in any given equilibrium the
           lowest-cost providers are providing any given resources.         Thus, if the U.S. is
           providing GHG-dependent products today, it is because the marginal cost of the U.S.
           providing such products is below the next-cheapest alternative. If the U.S. were to
           cease producing, say, 100 “units” of GHGs, the next-cheapest alternative would
           increase its production by less than 100 “units” (because if it made economic sense
           for the next-cheapest alternative to produce more than 100 “units” they would already
           be doing so). As such, any substitution will be less than perfect and reductions in



                                               40
       Case 6:15-cv-01517-TC              Document 266-1    Filed 06/28/18      Page 44 of 193




              U.S. emissions will be offset less than one-to-one by alternative supplies (i.e., there
              will be a net reduction).

         b. Second, specific to GHG emissions, recent technical studies have shown that U.S.
              emissions will not be perfectly offset.91 This is consistent with the general theory I
              mentioned above. While climate change is a global problem, the U.S. is a significant
              contributor to GHG emissions, and so actions by the U.S., both directly, and by the
              leadership which such actions provide, has a significant impact on these global
              outcomes. Indeed, the U.S. stands out as the sole country announcing that it is not
              committed to the reduction of carbon emissions, having announced that it will leave
              the Paris Agreement. Despite the U.S.’s actions, other countries remain committed.
              Thus, if the U.S. were to recommit itself to climate action, there is no significant risk
              of other countries polluting more, so as to offset the benefits of U.S. reductions in
              carbon emissions.

69.      The government has recognized since the 1980s that the U.S. will need to take a
         leadership role in climate change. For example, a government memorandum from 1989
         discusses the desire for the U.S. to have a leadership role in addressing climate change.
         The memorandum also makes clear that when it comes to addressing climate change the
         U.S. “simply cannot wait -- the costs of inaction will be too high.”92

         C.      DEFENDANTS’ USE OF DISCOUNTING IN DECISION-MAKING UNDERESTIMATES
                 THE COSTS OF CLIMATE CHANGE ON YOUTH PLAINTIFFS AND FUTURE
                 GENERATIONS AND THE BENEFITS OF MITIGATION, WITH DELETERIOUS
                 CONSEQUENCES

70.      In running the government, Defendants must repeatedly make decisions about projects
         and policies. They must evaluate alternative choices with which they are confronted. In
         this section, I explain that the way Defendants do this systematically undermines the


91
      See, e.g., P. Erickson and M. Lazarus, “Would constraining US fossil fuel production affect global
      CO2 emissions? A case study of US leasing policy,” Climatic Change, 2018,
      https://doi.org/10.1007/s10584-018-2152-z.
92
      Memorandum from Frederick M. Bernthal to Richard T. McCormack, Department of State, February
      9, 1989, attachment “Environment, Health and Natural Resources Issues,” and responses to “Question
      #1.”



                                                   41
        Case 6:15-cv-01517-TC          Document 266-1         Filed 06/28/18      Page 45 of 193




          interests of Youth Plaintiffs in a way which cannot be justified. Indeed, economic
          science provides sound alternative methodologies for the evaluation of policies and
          projects which systemically lead to better outcomes for society in general, and would not
          systematically discriminate against Youth Plaintiffs in the way that existing policies do.

71.       While there are a number of longstanding and well-established perspectives in economics
          which recognize that delaying the kinds of precautionary actions suggested above is
          deleterious to societal welfare, government practices and procedures underlying
          important decision-making systematically undervalue the costs to be borne by future
          generations (including Youth Plaintiffs and Affected Children).

72.       The issue devolves around how governments should value benefits and costs that arise at
          some future date relative to those that occur today. Typically, less value is given to
          future effects than to current effects. The question is, how much less. Since the most
          catastrophic effects of climate change may not be felt for years (see paragraph 27 and
          footnote 19, above), saying that what happens in the future does not matter much biases
          public decision making against taking actions to protect Youth Plaintiffs.

73.       The standard methodology for making such assessments is called cost-benefit analysis.
          In a cost-benefit analysis, using a discount rate is commonplace; however, that discount
          rate must be appropriate. As I have noted, issues around discounting are especially
          important in the context of climate change because the full benefits may not accrue for
          many years after society incurs costs to limit the emissions of GHGs.93

74.       Formal intertemporal analysis on which so much of modern economics is based
          originated with the path breaking work of Frank Ramsey, who argued that there was no
          ethically defensible justification for discounting the well-being (utility) of future




93
      There is also a problem with how discounting is often applied when we consider future costs
      compared to future benefits. Standard economic theory says that risky future benefits (e.g.,
      uncertainty regarding an investment’s return) are discounted to account for that risk. That is, risky
      benefits are worth less than riskless benefits. When we consider costs, however, analysts often
      reduce risky costs: uncertainty regarding future costs should decrease the value of a project (i.e.,
      increase its costs), not increase the value of a project.



                                                     42
        Case 6:15-cv-01517-TC          Document 266-1         Filed 06/28/18      Page 46 of 193




          generations.94   In the almost one century since his work, no one has developed a
          persuasive argument to the contrary.95

75.       There is an argument that future consumption should be discounted, since future incomes
          are assumed to be higher, and standard arguments of diminishing marginal utility imply
          that if that is the case, the value of consumption will be lower. But the high discount
          rates used by Defendants can only be justified by the assumption of high future increases
          in standards of living. Since 2008, there is overwhelming evidence that the pace of
          productivity has declined markedly, implying that we cannot count on past rates of
          increases prevailing in the future. There is one school of thought (studied and advocated
          by Prof. Robert Gordon at Northwestern) that argues even the current pace of




94
      Clearly, if one thought that the world would end, say in 50 years, as a consequence of a nuclear war,
      unrelated to climate change, one would not need to take into account events beyond the 50-year
      extension. We rule out such possibilities, or assume that they are of sufficiently low probability as
      not to affect our analysis.
      For mathematical tractability, many analyses assume a small, positive pure intergenerational discount
      rate. While ethically indefensible for our purposes, the results are not much different from those
      obtained with a zero discount rate.
95
      In the middle of the twentieth century, two teams of researchers, each with a prominent Nobel Prize
      winner, formulated “guides” to cost benefit analysis. See Dasgupta, Sen, and Marglin, prepared for
      UNIDO (the United Nations Industrial Development Organization) (P. Dasgupta, S.A. Marglin, A.
      Sen, Guidelines for project evaluation, United Nations Industrial Development Organization, Vienna
      (1972) (United Nations publication sales no.: E.72.II.B.11)) and Little and Mirrlees, prepared for
      OECD Development Center (I.M.D. Little and J.A. Mirrlees, Manual of Industrial Project Analysis in
      Developing Countries vols. 1 and 2, OECD, Paris (1968, 1969). Amartya Sen received the Nobel
      prize in 1998, Partha Dasgupta was knighted in 2002, Ian Little was the Deputy Director of the
      Economic Section at the U.K. Treasury and a distinguished Oxford development economist, and Sir
      James Mirrlees received the Nobel Prize in 1996.
      In the 1970s, discounting became important as the country thought through how to respond to the oil
      price shocks: what were the requisite changes to its energy system? Though this was done in an era
      before the costs of carbon emissions were widely understood, the principles are still relevant. See
      J.E. Stiglitz, “The Rate of Discount for Cost-Benefit Analysis and the Theory of the Second Best,”
      Discounting for Time and Risk in Energy Policy, R. Lind (ed.), Baltimore: The Johns Hopkins
      University Press, 1982, pp. 151-204.
      There have been various guidelines published on this topic for internal government use, see, for
      example: OMB Circular No. A-94, “Discount Rates to be Used in Evaluating Time-Distributed Costs
      and Benefits” (Mar. 27, 1972) and OMB Circular No. A-94, “Guidelines and Discount Rates for
      Benefit-Cost Analysis of Federal Programs”, Oct. 1992.




                                                     43
       Case 6:15-cv-01517-TC          Document 266-1        Filed 06/28/18    Page 47 of 193




         productivity—far lower even than in the recent past—may decline still more.96 Whether
         one agrees with Gordon’s assessment or not, this recent discussion has brought out four
         key points:

         a. There is considerable uncertainty about the pace of increase in living standards.

         b. The pace of increase in living standards is endogenous—it depends on what actions
             we take.

         c. If there is significant climate change, and if we continue on our current path, there is a
             significant risk of a decrease in standards of living.

         d. The marginal value of consumption is likely to be high in those states of nature where
             climate change is greater, and where the adverse effects of climate change are large.
             That is to say, the value of additional consumption—the ability to build or consume
             more—and therefore its price will be higher when the effects of climate change are
             greater.   Thus, in those places where the effects of climate change are most
             pronounced—where damage is the greatest and remediation need and costs are the
             highest—the social cost of such remediation will also be at its highest, exacerbating
             the damages to Youth Plaintiffs (both because when damages are high, the cost of
             remediation is also high, and because levels of consumption—what is left over after
             paying for remediation costs, and taking into account the damage done by climate
             change—are low).

76.      It would be foolhardy—and wrong—for public policy to proceed as if there were no risk,
         either of a decrease in living standards, and especially of a lowering of those standards as
         a result of a failure to appropriately curtail emissions.

77.      Standard economics over the past half century has emphasized the importance of risk
         aversion, and that risk affects our actions. Common usage of discounting in public
         finance fails to take account of risk appropriately. When individuals are risk averse, they


96
      See, R.J. Gordon, The Rise and Fall of American Growth: The U.S. Standard of Living since the
      Civil War, Princeton University Press, 2016. See also, R.J. Gordon, “Is U.S. Economic Growth
      Over? Faltering Innovation Confronts the Six Headwinds,” NBER Working Paper, No. 18315,
      August 2012, http://www.nber.org/papers/w18315.pdf.



                                                   44
       Case 6:15-cv-01517-TC          Document 266-1        Filed 06/28/18      Page 48 of 193




         are willing to buy insurance against a risk—to pay a considerable risk premium. This is
         also true for the business sector and society in general. This is especially important when
         we assess the appropriate response to the threat of climate change. The planet Earth
         cannot buy insurance from another planet against the risk of climate change here, but we
         can take precautionary actions. At the very least, this implies that the discount rate used
         for assessing climate change actions should be markedly different from that used for
         conventional short-term projects. As Chairman of the Council of Economic Advisers, I
         headed a review committee for the Office of Management and Budget (OMB) reviewing
         the guidelines for discounting, and that was the conclusion we reached in the late
         1990s—that one must account for changes in relative price over time, and when our
         environment becomes more valuable in the future (i.e., as the value of preserving it
         becomes higher) that must be reflected in the economic analysis.97 This was consistent
         with the position taken in the 2nd assessment of the IPCC, and in a paper I co-authored
         with the late Nobel laureate Kenneth Arrow and others.98

78.      More than half a century ago, President Johnson sent a message to Congress that we
         faced two paths: the cheaper option, in the short-term, of carrying down the path of
         pollution, or the more expensive option (at the time), of restoring the country and its
         natural heritage to the people.99

                 We are able to see the magnitude of the choice before us, and its
                 consequences for every child born on our continent from this day forward.
                 Economists estimate that this generation has already suffered losses from
                 pollution that run into billions of dollars each year. But the ultimate cost of

97
      Our report was issued in 1996: “Economic Analysis of Federal Regulations Under Executive Order
      12866,”          The          White          House,          January        11,          1996,
      https://obamawhitehouse.archives.gov/omb/inforeg_riaguide/.
98
      K. Arrow, W.R. Cline, K-G. Maler, M. Munasinghe, J. E. Stiglitz, and R. Squitieri, “Intertemporal
      Equity and Discounting,” in Global Climate Change: Economic and Policy Issues, M. Munasinghe
      (ed.), World Bank Environment Paper 12, Washington, D.C. 1995, pp. 1-32. Reprinted in an
      abbreviated format as “Intertemporal Equity, Discounting, and Economic Efficiency,” Climate
      Change 1995: Economic and Social Dimensions of Climate Change, J. Bruce, H. Lee, and E. Haites
      (eds.), Cambridge: Cambridge University Press, 1996, pp. 125-144.
99
      “Preserving Our Natural Heritage,” Message from the President of the United States, transmitting
      “Programs for Controlling Pollution and Preserving our Natural and Historical Heritage,” February
      23, 1966.



                                                   45
      Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 49 of 193




              pollution is incalculable. We see that we can corrupt and destroy our
              lands, our rivers, our forests, and the atmosphere itself all in the name of
              progress and necessity. Such a course leads to a barren America, bereft of
              its beauty, and shorn of its sustenance. We see that there is another course
              more expensive today, more demanding. Down this course lies a natural
              America restored to her people. The promise is clear rivers, tall forests,
              and clean air – a sane environment for man.

79.    For the last 50 years, Defendants have shirked from the “more demanding” course of
       restoring “America … to her people.” Defendants’ policies that discount the future of
       Youth Plaintiffs and Affected Children at inappropriately high rates continue to steer
       America on the path of incalculable losses and away from that more demanding and sane
       course. The costs of fixing the damage today are much higher than they would have been
       in 1966 when President Johnson sent his message; but, the costs today are much lower
       than what they will be after another 50 years of fossil fuel pollution and inaction.




                                                46
      Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 50 of 193




VI.    CONCLUSION

80.    The choice between incurring manageable costs now and the incalculable, perhaps even
       irreparable, burden Youth Plaintiffs and Affected Children will face if Defendants fail to
       rapidly transition to a non-fossil fuel economy is clear. While the full costs of the climate
       damages that would result from maintaining a fossil fuel-based economy may be
       incalculable, there is already ample evidence concerning the lower bound of such costs,
       and with these minimum estimates, it is already clear that the cost of transitioning to a
       low/no carbon economy are far less than the benefits of such a transition. No rational
       calculus could come to an alternative conclusion. Defendants must act with all deliberate
       speed and immediately cease the subsidization of fossil fuels and any new fossil fuel
       projects, and implement policies to rapidly transition the U.S. economy away from fossil
       fuels.

81.    This urgent action is not only feasible, the relief requested will benefit the economy.
       More importantly, this action is necessary if Defendants are to prevent the extreme cost
       and damages Youth Plaintiffs and Affected Children are facing and will face to an even
       greater extent if Defendants continue on a path that does not account for what is
       scientifically necessary to protect the climate system they depend on for their future well-
       being and their personal and economic security.




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Joseph E. Stiglitz, Ph.D.
April 13, 2018




                                                47
Case 6:15-cv-01517-TC   Document 266-1   Filed 06/28/18   Page 51 of 193




                           EXHIBIT A:
                        CURRICULUM VITAE
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 52 of 193




                       CURRICULUM VITAE
                      JOSEPH E. STIGLITZ
Born
February 9th, 1943

Address
Uris Hall, Room 212
Columbia University
3022 Broadway
New York, NY 10027

Phone: (212) 854-0671
Fax: (212) 662-8474
jes322@columbia.edu

Current Positions
University Professor, Columbia University. Teaching at the Columbia Business School,
  the Graduate School of Arts and Sciences (Department of Economics) and the School of
  International and Public Affairs.
Co-founder and Co-President of the Initiative for Policy Dialogue (IPD)
Co-Chair of the High-Level Expert Group on the Measurement of Economic Performance
  and Social Progress, Organisation for Economic Co-operation and Development
  (OECD)
Chief Economist of The Roosevelt Institute


Previous Positions
Co-Chair, Columbia University Committee on Global Thought
Chair of the Management Board, Brooks World Poverty Institute, University of
   Manchester
Chair, International Commission on the Measurement of Economic Performance and
  Social Progress, appointed by President Sarkozy, 2008-2009.
Chair, Commission of Experts on Reforms of the International Monetary and Financial
  System, appointed by the President of the General Assembly of the United Nations,
  2009.
Professor of Economics and Senior Fellow, Hoover Institution, Stanford University, 1988–
  2001; professor emeritus, 2001--
Stern Visiting Professor, Columbia University, 2000


                                           A-1
 Case 6:15-cv-01517-TC       Document 266-1      Filed 06/28/18    Page 53 of 193




Senior Vice President and Chief Economist, World Bank, 1997–2000
Senior Fellow, Brookings Institution, 2000
Chairman, Council of Economic Advisers (Member of Cabinet), 1995–1997
Member, Council of Economic Advisers, 1993–1995
Research Associate, National Bureau of Economic Research
Senior Fellow, Institute for Policy Reform
Professor of Economics, Princeton University, 1979–1988
Drummond Professor of Political Economy, Oxford University, 1976-1979
Oskar Morgenstern Distinguished Fellow and Visiting Professor, Institute for Advanced
  Studies and Mathematica, 1978-1979
Professor of Economics, Stanford University, 1974-1976
Visiting Fellow, St. Catherine's College, Oxford, 1973-1974
Professor of Economics, Cowles Foundation and Department of Economics, Yale
  University, 1970-1974
Senior Research Fellow, Social Science Division, Institute for Development Studies,
  University College, Nairobi (under Rockefeller Foundation Grant), 1969-1971
Associate Professor, Cowles Foundation, 1968-1970
Assistant Professor, Cowles Foundation, 1967-1968
Tapp Research Fellow, Gonville and Caius College, Cambridge, 1966-1970
Visiting Professor, Department of Economics, University of Canterbury, Christchurch,
  New Zealand, June-August, 1967
Assistant Professor of Economics, M.I.T., 1966-1967

Education
B.A. Amherst College, 1964
Ph.D. in Economics, M.I.T., 1966-1967

Unearned Degrees
M.A., Cambridge University, 1970
M.A., Oxford, 1976

Honorary doctorates
D.H.L., Amherst College, 1974
University of Leuven, 1996
Ben Gurion University, 1997
Academia de Studii Economice, Bucharest, December 1999
University of Namur, March 2000
Technical University, Lisbon, June 2000


                                          A-2
 Case 6:15-cv-01517-TC       Document 266-1      Filed 06/28/18    Page 54 of 193




Northwestern University, Doctor of Laws, June 2000
New School University, February 2001
Bard College, May 2001
University of Toronto, June 2001
Charles University, Prague, June 2001
Glasgow University, July 2001
University of Buenos Aires, November 2001
University of Andes, October 2001
Sofia State University “Saint Clement Ohridski,” Bulgaria, 2002
Wirtschafts Universitat, Vienna, January 2002
University of Macau, March 2002
Pomona College, May 2002
Université catholique de Louvain la Neuve Belgium, February 2003
Doshisha University, April 2003
University of Barcelona, May 2003
Azerbaijan State Economic University, 2003
Waseda University, April 2004
Georgetown University, May, 2004
Indiana University, May 2004
Pace University, May, 2004
University of Oxford, June 2004
University of Bergamo, Italy, July 2004
Université d’Antananarivo, Madagascar, August 2004
Drexel University, June 2005
Universidad de La Plata, August 2005
Durham University, September 2005
Lingnan University, Hong Kong, December 2005
University of the Basque Country, May 2006
Università degli Studi di Genova, May 2006
Universidad Mayor de San Andrés, Bolivia, May 2006
Renmin University, China, March 2007
University of Venice, Italy, May 2008
University of Liège, Belgium, May 2008
University of Manchester, UK, October 2008
Luiss Guido Carli University, Rome, February 2010
University of Hyderabad, India, January 2013

                                         A-3
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 55 of 193




University of Córdoba, Argentina, August 2012
University of Hyderabad, India, January 2013
Cambridge University, United Kingdom, June 2013
Universite Paris-Dauphine, France, June 2013
Harvard University, May 2014
Arizona State University, May 2014
HEC Paris, January 2015
University of Split, May 2015
University of the Republic of Uruguay, December 2015
Chinese University of Hong Kong (CUHK), May 2016
Sant'Anna School of Advanced Studies, University in Pisa, Italy, May 2017
Università Politecnica delle Marche, Ancona, Italy, November 2017

Fellowships and Honors
National Science Foundation Fellowship, 1964–1965
Fulbright Fellowship, 1965-66
Social Science Research Council Faculty Fellowship, 1969-1970
Guggenheim Fellowship, 1969-70
Fellow of the Econometric Society, 1972
John Bates Clark Award, American Economic Association, 1979
Fellow, American Academy of Arts and Sciences, 1983
Fellow, National Academy of Science, 1988
International Prize of the Academia Lincei, 1988
UAP Scientific Prize, Paris, France, 1989
Corresponding Fellow of the British Academy, 1993
Rechtenwald Prize, Germany, 1998
Fellow, American Philosophical Society, 1998
Nobel Prize in Economics, 2001
Honorary Fellow, Gonville and Caius College, University of Cambridge, 2001
Distinguished Leadership in Government award, Columbia Business School, 2002
Le Prix Europeén du Livre d’Économie, Special Mention for Globalization and its
  Discontents, November 2002
Honorary Professor, Al Farabi Kazakh National University, November 2003
Honorary Fellow, St. Catherine’s College, Oxford, 2003
Order of the Gran Cruz con Placa de Oro, Republica de Colombia, 2003
Le Prix Européen du Livre d’Économie, First Prize, for Roaring Nineties, Paris, 2003
Bruno Kreisky Prize for Political Books, Vienna, 2003

                                          A-4
 Case 6:15-cv-01517-TC         Document 266-1       Filed 06/28/18     Page 56 of 193




Ordinary Academician, Pontifical Academy of Social Sciences, May 2003
John Kenneth Galbraith Award, American Agricultural Economics Association, August
   2004
Serbian Scientific Society, December 2005
Honorary Professorship, Wuhan University, Hubei Province, China, March 2006
Changjiang Scholar, China Center for Economic Research, Peking University, China,
   March 2006
La Medalla de la Orden Nacional "Al Mérito," Ecuador, July 2006
National Center for Law and Economic Justice Benefit Award, May 2006
Honorary Fellowship, Fitzwilliam College, May 2006
Honorary Professorship, Guizhou University, China, March 2007
Honorary Professorship, Yunnan University, China, March 2007
Honorary Professorship, Central University of Finance and Economics, Beijing, China,
   March 2007
Honorary Dean, Hanqing School, Renmin University, Beijing, March 2007
Le Prix Manpower for Making Globalization Work, October 2007
Honorary Professor, Universidad de San Martin De Porres, Lima, Peru, December 2007
Honorary Professor, Universidad Nacional de San Antonio Abad del Cusco, Peru,
   December 2007
Lead author and member of the Steering Committee, Working Party 3, of the 1995 (Second
   Assessment) Report of the Intergovernmental Panel on Climate Change, which shared
   the 2007 Nobel Peace Prize
John F. Kennedy Memorial Fellowship, Fulbright New Zealand, March 2008
Honorary Professorship, Tsinghua University, Beijing, China, March 2008
International Labour Organization, Decent Work Research Prize, June 2008
The Royal Society, Foreign Member, May 2009
Gerald Loeb Award, Commentary category, June 2010. (Among the highest honors in
   journalism, the Loeb Awards recognize the work of journalists whose contributions
   illuminate the world of business, finance and the economy for readers and viewers
   around the world.)
Inaugural Rodney Wylie Eminent Visiting Fellow, University of Queensland, July 2010
Francis Perkins Working People's Award, 2010 presented by the Fiscal Policy Institute,
   October 7, 2010, for recognizing the importance of sound economic analysis to the well-
   being of working people everywhere; for groundbreaking work on the circumstances
   under which government can improve market performance; and for vital contributions
   to public policy at the international, national, and state levels.
The Karel Englis Honorary Medal for Merit in the Social and Economic Sciences, awarded
   by the Academy of Sciences of the Czech Republic, 2010



                                            A-5
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 57 of 193




100 Years of American Economic Review: The Top 20 Articles, February 2011, for
  “Monopolistic Competition and Optimum Product Diversity,” with A. Dixit, American
  Economic Review, 67(3), June 1977, pp. 297-308 and “On the Impossibility of
  Informationally Efficient Markets,” with S. Grossman, American Economic Review,
  70(3), June 1980, pp. 393-408.
2011 100 Most Influential People in the World List, Time Magazine, “TIME 100”, April
  2011
Legion of Honor, rank of Officier, France, February 2012
Economic Theory Fellow, Society for the Advancement of Economic Theory, July 2012
Corresponding Academic, Royal Academy of Economic Sciences and Finance, Spain,
  September, 2012
Global Economy Prize, Kiel Institute, Germany, June 2013
Robert F. Kennedy Book Award, for The Price of Inequality, September 2013
Daniel Patrick Moynihan Prize, May 2014
Member, the American Academy of Political and Social Science, 2014
Jean-Jacques Laffont Prize, June 2014
Selected in Economic Journal’s 125th Anniversary Issue as a seminal article, March 2015,
  for “A New View of Technological Change,” with A. Atkinson, Economic Journal,
  79(315), September 1969, pp. 573-578.
George S. Eccles Prize for Excellence in Economic Writing, for Creating a Learning
  Society, Columbia Business School, May 2015
2015 POLITICO 50 List, POLITICO Magazine, September 10, 2015
Columbia University Press, Distinguished Book Prize, for Creating a Learning Society,
  September 2016
Bloomberg 50 Most Influential People in the World of Finance, September 2016
Progress Medal for Scholarship and Leadership on Fairness and Well-being, Society for
  Progress, September 2016
National Association of Business Economics (NABE) Paul A. Volcker Lifetime
  Achievement Award for Economic and Monetary Policy, March 2017
Estoril Global Issues Distinguished Book Prize, for The Euro, May 2017
Sigillum Magnum, University of Bologna, November 2017
Donald Gordon STIAS Fellow, Stellenbosch Institute for Advanced Study, November
  2017



International Positions, Boards, etc. (selected)
Past President, Eastern Economics Association, 2008
President, International Economics Association, 2011-2014; Committee Member, 2014-



                                           A-6
 Case 6:15-cv-01517-TC       Document 266-1       Filed 06/28/18   Page 58 of 193




Co-Chair, Institute for New Economic Thinking (INET) Global Economic Transformation
   Commission, 2017-
Member, High-level Commission on Carbon Prices, 2016-
Member, United Nations High-Level Advisory Board on Economic and Social Affairs
Center for a New Economy’s Growth Commission for Puerto Rico, 2016-
Member, CFTC-SEC Advisory Committee on Emerging Regulatory Issues
World Bank, Chief Economist’s Council of Economic Advisers, 2000-
ILO World Commission on the Social Dimensions of Globalization, 2003
High Level Panel of the African Development Bank, 2006-2007
Chairman, SI Commission on Global Financial Issues, 2009
Member, Economic Advisory Panel of the South African Minister of Economic
   Development, 2010
Member, Prime Minister’s Advisory Committee of Progressive Intellectuals, Spain, 2008-
   2011
Member, International Advisory Board, Renault-Nissan (2000-2004)
Member, International Advisory Board, Docomo, 2008-2011
Member, International Advisory Board, Statoil, 2011-
Member, Economic Advisory Board, Brennan Center for Justice, 2015-
Commissioner, World Health Organization’s High-Level Commission on Health
   Employment and Economic Growth, 2016
Board Member, Acumen Fund
Board member, Alliance for Climate Protection, 2011-
Member, Executive Supervisory Committee, CERGE-EI, Prague
Executive Board, Economic Research Forum, Cairo
Honorary Member, Board of Directors, Center for Global Development
Foreign Member, Russian Academy of Sciences, elected in 2003
Member, Barcelona Graduate School of Economics Advisory Scientific Council, 2007-
Member, Fiscal Commission Working Group, Scotland, 2012-
Member of French Government's Independent Council for Growth and Full-Employment,
   2014-
Intergovernmental Panel on Climate Change (Steering Committee, Working Party 3,
   second assessment, a Lead Author of 1995 Report)
Chairman, Economic Policy Committee, OECD. 1993-1995
Member of the Board, Resources for the Future
Member of the Board of Trustees, Amherst College
Trustee, Folger Library, Washington, 2000-2005
International Advisory Board, Korea Financial Services Commission


                                          A-7
 Case 6:15-cv-01517-TC      Document 266-1      Filed 06/28/18   Page 59 of 193




U.S./Israel Joint Economic Decision Group (JEDG), 1993-1996
Member, Mid-east Economic Peace Forum, Amman, 1995
Chair, U. S. Delegation, OECD Ministerial, 1996
Member, U.S. Delegation, G-7 Jobs Summit, France, 1996
Chair, U.S. Delegation, G-7 and Developing Country Telecommunications Conference,
  South Africa, 1996
World Bank Delegate, G-22
Headed, U.S. Delegations to India, China, Russia, Ukraine


Consulting (selected)
Ford Foundation Energy Policy Study, 1973
Department of Labor (Pensions and Labor Turnover), 1974
Department of Interior (Offshore Oil Leasing Programs), 1975
Federal Energy Administration (Intertemporal Biases in Market Allocation of Natural
   Resources), 1975-76
World Bank
O.E.C.D.
Electrical Power Research Institute
Office of Fair Trading (U.K.) Consumer Protection Legislation
Bell Communications Research
Bell Labs
U.S. State Department - AID
Inter-American Development Bank
State of Louisiana (Attorney General)
State of Texas (Attorney General and Governor's Office)
Office of Tax Analysis, U.S. Treasury
Federal Reserve Board
Office of Technology Assessment
State of Alaska
Seneca Indian Nation
Micronomics
Department of Justice
Senior Advisor, Sebago Associates
New York State, Attorney General’s Office
States of California, Washington, and others on Banking Competition



                                         A-8
 Case 6:15-cv-01517-TC       Document 266-1      Filed 06/28/18    Page 60 of 193




Selected Invited Lectures
Far Eastern Meetings of the Econometric Society, Tokyo, 1970
Association of University Teachers of Economics, Warwick, 1974
Westfalich Academy of Science
Fifth Annual Lecture of the Geneva Association, delivered at Zurich, March 1983
David Kindall Lecture, University of Illinois, 1985
Frank W. Paish Lecture, Association of University Teachers of Economics, Bath, United
   Kingdom, 1985
Journal of Money, Banking and Credit Lecture, Western Economic Association, Las
   Vegas, 1985
Invited Plenary Session Lecture, Meetings of the Sociedade Brasileira de Econometria,
   Belem, Brazil, December 1986
Upjohn Lecture, Western Michigan University, 1986
Johansen Lectures, Oslo, 1986
Frontiers of Economics Lecture, World Bank, 1986
Harry Lyman Hooker Distinguished Visiting Professors Series, McMaster University,
   1986
Shepherd Lecture, State University of Iowa, 1986
Shell Lecture, City University, London, 1986
Rand Chair Distinguished Speaker Series, SUNY-Buffalo, 1987
Fisher-Schultz Lecture, European Meetings, Econometric Society, Copenhagen, 1987
Jacob Marschak Lecture, Far Eastern Meetings, Econometric Society, Tokyo, 1987
Invited Plenary Lecture, American Accounting Association, Cincinnati, 1987
Central Bank of Uruguay, Annual Conference for South American Economists, 1988
Argentina Economic Association, 1988
NÖG Lecture, Austrian Economic Association, 1988
John Crawford Lecture, Economic Congress of Australia (Joint Meeting of Economic
   Society, The Econometric Society, The Australian Agricultural Society and The
   Economic History Society of Australia and New Zealand, Canberra), 1988
Stevenson Lectureship, University of Glasgow, Scotland, December 1988
Plenary Session Latin American Meeting of the Econometric Society, Santiago, Chile,
   August 1989
Musgrave Lecture, University of California, Santa Cruz, March 1990
AT&T Lecture Series, Notre Dame University, April 1990
Wicksell Lectures, University of Stockholm, May 1990
Institute of Public Administration Annual Conference, Dublin, December 1990

                                          A-9
 Case 6:15-cv-01517-TC     Document 266-1     Filed 06/28/18   Page 61 of 193




IPR-IRIS Conference, Prague, March 1991
Caffee Lecture on Reformulation of Monetary Theory, Rome, April 1991
Lindhal Lectures on Fiscal and Monetary Policy, Uppsala, Sweden, April 1991
Irish Economic Association Annual Conference, Keynote Lecture, Dublin, May 1991
Federal Reserve Bank of Cleveland, May 1991
Villa Mondrage International Economic Seminar, Rome, June 1991
Far Eastern Meeting of the Econometric Society, Seoul, June 1991
Korea Development Institute, Seoul, June 1991
National Association of Business Economists, Los Angeles, September 1991
Marshall Lecture, European Economic Association Annual Meeting, Cambridge, UK,
   September 1991
NBER/CEPR Conference on Unemployment and Wage Determination, Boston, October
   1991
NBER Taxation Program, Cambridge, MA, October 1991
Institute for Policy Reform 1991 AID Economists' Conference, Raleigh-Durham,
   November 1991
United Nations Conference on Trade and Development, Geneva, December, 1991
CEPR Conference on Finance and Development in Europe, Santiago, Spain, December
   1991
Schumpeter Lecture, Kyoto, 1992
Marshall Lecture, Cambridge, 1996
Wider Lecture, Helsinki, 1997
EIB Lecture, Florence, 1997
Indian Development Bank 50th Jubilee Lecture, 1998
Prebisch Lecture, Geneva (UNCTAD), 1998
Annual Lecture, Government Economists Association, Chicago, 1998
University of Pittsburgh McKay Lecture, 1998
Institute of International Finance, Cordoba, Argentina, 1998
American Economic Association, Distinguished Lecture on Economics in Government,
   1998
Bangladesh Economic Association, 1999
National Economic Research Institute Jubilee Lecture, 1999
Mattioli Lectures, Milan, 1999
Schwartz Lecture, Northwestern, 1999
McKenzie Lecture, Rochester, 1999
Nobel Symposium in Economics: The Economics of Transition, Saltsjöbaden, Sweden,
   1999


                                       A-10
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 62 of 193




Oxford Amnesty Lecture, 1999
Bruno Lecture, Beunos Aires, 1999
Papandreou Lecture, Athens, 1999-2000
Center for Contemporary Arab Studies, Georgetown University, 2000
Calouste Gulbenkian Foundation, Lisbon, 2000
Money, Macro and Finance Research Group Millennium Conference, London, 2000
HKEA First Biennial Conference, Hong Kong, 2000
Fifteenth Annual Henry George Lecture, University of Scranton, 2000
(Keynote speaker, invited lecture, at national or regional economic meetings in Bogota,
   Montivedeo, Colombo, Manila, Seoul, Tokyo, Bangkok, Marrakech, Cairo, Kampala,
   Nairobi, Dacca, Kuala Lampur, San Salvador, San Jose (Costa Rica))
Goldman Lecture in Economics, Wellesley University, 2001
Arthur M. Okun Lecture Series, Yale University, 2001
Global Employment Forum, International Labor Office, Geneva, 2001
Fourteenth Annual Emile Grunberg Lecture Series, The University of Akron, 2001
Sixth International Congress, Centro Latinoamericano de Administración para el
   Desarrollo, 2002
Austrian Federal Ministry for Economic Affairs and Labour discussion forum, Vienna,
   January 2002
Miliband Lecture, London School of Economics, 2002
Keynote address, New School Graduate Program in International Affairs, “Economic
   Management and Political Collapse in Argentina” conference, April 2002
National Economic Council, Caracas, 2002
World Knowledge Forum, Seoul, 2002
Cercle de Economistes, Aix en Provence, 2002
Okigbo Memorial Lecture Series, inaugural edition, Enugu, Nigeria, 2002
Brazilian Economic and Social Development Bank fiftieth anniversary seminar, Rio de
   Janeiro, 2002
Second Prebisch Lecture, Economic Commission for Latin America and the Caribbean,
   Santiago, Chile, 2002
El Consejo de Economía Nacional conference, Caracas, 2002
Twentieth anniversary of Economics Faculty at the University of Urbino, Italy, 2003
Asian Development Bank Distinguished Speakers Program, Manila, 2003
Clarendon Lecture, Oxford University, 2003
Korean Development Institute, 2003
The Fourth Annual JAMA Lecture, The Elliott School of International Affairs, George
   Washington University, March 2003
Columbia Business School Distinguished Lecture Series, 2003

                                          A-11
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 63 of 193




Conferencia Internacional Bogotá, 2003
Aaron Wildavsky Forum for Public Policy, Berkeley University, 2004
Second Gunnar Myrdal Lecture, United Nations Economic Commission for Europe,
  Geneva, 2004
Tanner Lecture, Oxford University, 2004
Keynote Address, Conference on Financial Disintermediation, The Bank Indonesia and
  Asian Development Bank, Denpasar, Bali, December 2004
Keynote Address, Ministerial Conference on Intellectual Property for Least Developed
  Countries, World Intellectual Property Organization, Seoul, 2004
Keynote Lecture, Seventh National Conference on Economics, A Coruña, Spain, 2005
Nobel Lecture series, Chinese University of Hong Kong, March 2005
Tenth Sir Arthur Lewis Memorial Lecture, Basseterre, St. Kitts and Nevis, November
  2005
Distinguished Lecture in Economics and Public Policy, Clare College, 2006
Yates Lecture, The Murphy Institute, Tulane University, New Orleans, 2006
Jacques de Larosiere Lecture, European Bank for Reconstruction and Development,
  London, 2006
Takata Yasuma Memorial Lecture, Kyoto University, 2006
Geary Lecture, Economic and Social Research Institute, Dublin, 2006
Keynote Address, University of San Francisco Law School Symposium on Regulatory
  Federalism, 2006
Fourth Annual KC Basu Lecture, National University of Juridical Science, Calcutta, 2007
Keynote Address, Conference on “Welfare State in the International Economy”
   University of Texas at Austin, 2007
Annual Frey Lecture on International Property, Duke University, 2007
China Development Forum, 2006-2017
Howard University Omicron Delta Epsilon Economic Honors Society Dinner, 2007
Grotius Lecture, 101st Annual Meeting of the American Society for International Law,
   Washington, DC, 2007
Khazanah National Bank Global Lectures, Kuala Lumpur, Malaysia, 2007
Waseda University 125th Anniversary Celebration, Tokyo, 2007
Foundation Day Lecture, University of Manchester, UK, 2008
Kenneth Arrow Lecture, Columbia University, New York, 2008
Tenth Annual D.T. Lakdawala Memorial Lecture, New Delhi, 2008
Eminent Speakers Series, African Development Bank, Tunis, 2010
Daniel Patrick Moynihan Lecture, Washington, D.C., 2014
HEC Honorary Degree conferral presentation, Paris, 2015
Adana Young Businessmen Association Lecture, Turkey, 2015

                                          A-12
 Case 6:15-cv-01517-TC          Document 266-1       Filed 06/28/18     Page 64 of 193




WEF Latin America Lecture and Panel, Colombia, 2015
Royal Geographical Society Lecture, London, 2015
Our Common Future under Climate Change Conference, UNESCO, Lecture, Paris, 2015
UN Conference on Financing for Development, Ethiopia, 2015
Jackson Hole Summit Lecture, 2015
Clinton Global Initiative Annual Meeting, New York, 2015
World Bank/IMF Annual and Spring Meetings, Alternative Forum, Lima, 2015
The Center for Public Policy Debate Lecture, Sao Paolo, 2015
4th BRICS International Competition Conference Lecture, South Africa, 2015
Keynote Speaker, UNIDO General Conference, Vienna, 2015
Calouste Gulbenkian Foundation Lecture, Lisbon, 2015
Research Institute for Development, Growth, and Economics Forum Lecture, Buenos
   Aires, 2015
University of Zurich Lecture, 2016
World Economic Forum Lecture and Panel, Switzerland, 2016
Bank of Japan, Shinzo Abe, and Taro Aso Lecture, Toyko, 2016
Keynote speaker, The University of Ottawa, 2016
High Level Leadership Seminar Lecture, Namibia, 2016
The Chinese University of Hong Kong Lecture, Hong Kong, 2016
Council on Foreign Relations, New York, City, 2016
Advanced Graduate Workshop on Poverty, Development and Globalization Lecture,
   India, 2016
Annual Meeting of the African Export-Import Bank Lecture, Seychelles, 2016
Keynote speaker, The Biennial Cooperative Economy, Italy, 2016
Keynote speaker, International Summit of Cooperatives, Quebec City, 2016
Keynote speaker, Princeton University’s Griswold Center for Economic Policy
   Studies Conference on Inequality, 2016
Presentation at the European Parliament to present "Overcoming the Shadow
   Economy," a report on reforming tax secrecy havens with Mark Pieth, published in
   Friedrich Ebert Stiftung International Policy Analysis Paper, with participation of half
   of the members of the Parliament, 2016
University of Havana and ANEC (The Cuban Society of Marketing of the National
   Association of Economists and Accountants of Cuba) Lecture, Cuba, 2016
Annual Meeting of the American Economic Association, Chicago, 2017
World Economic Forum Lectures, Davos, January 2017.
National Association of Business Economics (NABE) Paul A. Volcker Lifetime
   Achievement Award for Economic and Monetary Policy Lecture, March 2017



                                            A-13
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 65 of 193




Japan Ministry of the Environment Japan (MOEJ) Vision Committee lecture, Tokyo,
   March 2017.
International Economic Association (IEA) World Congress, Opening Plenary Lecture,
   Mexico City, June 2017.
International Economic Association (IEA) World Congress Lecture, Mexico City, June
   20, 2017.
American Sociological Association (ASA) Annual Meeting Lecture, Montréal, Canada,
   August 12, 2017.
Bank of England Conference, Lecture, October 4, 2017.
African Export-Import Bank Conference, Memorial for Babacar Ndiaye, Washington,
   DC, October 15, 2017.
STIAS Lecture Series, Stellenbosch Institute for Advanced Study, South Africa,
   November 14, 2017
Growth Summit hosted by the Bureau for Economic Research, Economic Research
   Southern Africa and the Research Project on Employment, Income Distribution and
   Inclusive Growth, Cape Town, South Africa, November 15, 2017.
Hill Briefing: Trade, Legal Experts across the Political Spectrum Agree ISDS Must Be
   Eliminated from NAFTA, Washington, DC, December 5, 2017.
Fragility of Truth, Nobel Week Dialogue, Gothenburg, Sweden, December 9, 2017.
AI, Worker-Replacing Technological Change and Income Distribution, 13th Annual
   Conference on Economic Growth and Development (ISI), New Delhi, India,
   December 18, 2017.
Trump and Globalization; Making Trade Globalization Inclusive; Unemployment,
   Welfare and Innovation, American Economic Association Annual Meeting,
   Philadelphia, January 5-7, 2018.
Beyond the Paradise Papers; Towards a Better Capitalism, World Economic Forum
   Annual Meeting 2018, Davos-Klosters, Switzerland, January 23, 2018.
Improving the Distribution of Wealth: Lecture in Memory of Anthony Atkinson, London
   School of Economics and Political Science, February 16, 2018.


Editing
Co-editor, Journal of Globalization and Development

Previous editing positions
Founding Editor, Journal of Economic Perspectives
Editorial Board, World Bank Economic Review
Associate Editor, Review of Economic Design
Board of Consulting Editors, Economic Notes (Monte dei Paschi Di Siena, Italy)
Member, Scientific Committee, Assicurazioni, Rome, Italy

                                          A-14
 Case 6:15-cv-01517-TC       Document 266-1      Filed 06/28/18   Page 66 of 193




Editorial Board, The Geneva Papers on Risk and Insurance Theory
Editorial Board, Revista de Econometrica
Associate Editor, Journal of Economic Theory, 1968-73
Co-editor, Journal of Public Economics, 1980-83
American Editor, Review of Economic Studies, 1968-76
Associate Editor, American Economic Review, 1968-76
Associate Editor, Energy Economics
Associate Editor, Managerial and Decision Economics
Editorial Board, The Review of Industrial Organization
Co-editor, The Economists’ Voice




Other Activities
Counselor of the Academic Committee, National Economics Foundation
International Advisory Committee, Barcelona Graduate School of Economics
International Advisory Board, Open Society Foundation
Committee on Graduate Education in Economics, American Economic Association
Member, M.I.T. Corporation Visiting Committee in Economics, 197l-1983
Member, Committee on Urban Public Economics, 1973
Secretary, Econometric Society, 1972-1975
Council, Econometric Society, 1984–1990
Steering Committee, Conference on Mathematical Economics, NBER
Member, Economics Panel, National Science Foundation, 1972-1976
Executive Committee, American Economic Association, 1982-1984; ex-officio, 1985–
Vice-President, American Economic Association, 1985
Special Review Panel, NSF, 1986
Visiting Committee, University of California, Department of Economics, 1989
Member, Nikkei International Academy, 1991
Member, Center for Economic Studies, 1991
Member, SEC-organized task force on accounting in the new economy, 1999-2001




                                         A-15
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 67 of 193




Articles
1966
“Investment, Income, and Wages,” (abstract), with G. A. Akerlof, Econometrica, 34(5),
       Supplementary Issue, 1966, p. 118. (Presented at December meetings of the
       Econometric Society, New York.)
1967
“Allocation of Investment in a Dynamic Economy,” with K. Shell, Quarterly Journal of
       Economics, 81, November 1967, pp. 592-609.
“A Two-Sector, Two Class Model of Economic Growth,” Review of Economic Studies,
      34, April 1967, pp. 227-238.
1968
“A Note on Technical Choice Under Full Employment in a Socialist Economy,”
      Economic Journal, 78(311), September 1968, pp. 603-609.
“Output, Employment and Wages in the Short Run,” with R. Solow, Quarterly Journal of
      Economics, 82, November 1968, pp. 537-560.
1969
“Allocation of Heterogeneous Capital Goods in a Two Sector Economy,” International
       Economic Review, 10, October 1969, pp. 373-390. (Presented at the 1965 Chicago
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 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 104 of 193




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 Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 106 of 193




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                                          A-110
 Case 6:15-cv-01517-TC         Document 266-1       Filed 06/28/18     Page 162 of 193




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                                          A-112
 Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 164 of 193




Other outside activities
Speaking engagements at some point during the past five years
List includes lectures, speeches, and participation in panels. To view a select
chronological list of Professor Stiglitz’s speeches and links to powerpoints, videos, and
speech texts, please visit his website, www.josephstiglitz.com. For more information on
this list or an item on it, please write to stiglitzpress@gmail.com.




                                           A-113
 Case 6:15-cv-01517-TC       Document 266-1       Filed 06/28/18    Page 165 of 193




92nd Street Y, Abraaj Capital, Absa Capital African Central Banks Conference,
Academy of Achievement, Academy of Behavioral Finance & Economics, Acumen
Fund, Adana Young Businessmen Association (Turkey), ADC Forum (Australia),
Advanced Graduate Workshop on Poverty, Development and Globalization (Bangalore),
Affordable World Security Conference, AFL-CIO, African Export-Import Bank Advisory
Group on Trade Finance and Export Development in Africa, All Party Parliamentary
Group on Inclusive Growth of the UK, American Academy of Political and Social
Science, American Bar Association, American Civil Liberties Union, American
Economic Association (AEA) / Allied Social Science Association, American Federation
of Labor and Congress of Industrial Organizations, Amundi, Annual India Business
Conference (Columbia), Ansonia Independent Democratic Club, Asia Society, Asia
Society (Hong Kong), Asian Development Research Institute, Associação Portuguesa de
Empresas de Distribuição, Association for Evolutionary Economics, Atlanta Fed, Atlantic
Council, Australia and New Zealand Banking Group Limited, Australia Institute,
Australian Conference of Economists, Australian Institute of Superannuation Trustees
(AIST), Azim Premji University, B&C Industrieholding, Bachelet Commission on
Pension Re-reform, Bank of Singapore, Bank of Uganda, Barcelona Graduate School of
Economics, Barclays, Barnes & Noble, Berggruen Institute, Bertelsmann Foundation,
Blackwood Capital, BNDES - Brazilian Development Bank, Bohemian Club (Sonoma,
California), BRICS International Competition Conference, British Academy, Brooklyn
Public Library, B-Team, Calouste Gulbenkian Foundation, Camera dei Deputati (Italy),
Carbon Commission, Carbon Pricing Leadership Coalition (CPLC), Catholic University
of the Sacred Heart, Center for a New Economy (CNE), Center for Economic
Development (Australia), Center for Popular Democracy, Center for Public Integrity,
Center for Public Policy Debate (Brazil), Center of Studies of the University of Alcalá,
Center on Global Economic Governance, Center on Japanese Economy and Business,
Centre for International Governance Innovation, Centre of Excellence in Population
Aging Research (Australia), Charles Krause Gallery, Chatham House, Chicago Council
on Global Affairs, Chifley Research Centre (Australia), China Development Research
Foundation, China Development Research Foundation (CDRF), China Entrepreneur
Club, China Finance 40 Forum, China Machinery Press, Citi, City of Sydney, City
University of New York, Clinton Global Initiative, CLSA Investors’ Forum, Columbia
Club of New York, Columbia European Society, Columbia Global Center (Turkey),
Columbia Real Estate Forum, Columbia University Alumni Assocation (Bangalore),
Columbia University Club, Comisiones Obreras (CCOO), Committee for Economic
Development of Australia, Committee of 100, Committee on Global Thought, Committee
on Japan's Long-term Low Carbon Vision, Commonwealth Club, Conference on
Development Policy Options in Myanmar, Cornell Club, Council of Eminent Persons,
Council on Foreign Relations, Coursera, Crawford School of Economics, Credit Suisse,
Cultural Services of the French Embassy (New York), Deakin University (Australia),
DeGroote School at McMasters University, Democratic Party of Japan, Dhurakij Pundit
University, Discovery Leadership Conference (South Africa),




                                          A-114
 Case 6:15-cv-01517-TC         Document 266-1       Filed 06/28/18     Page 166 of 193




Doosan Global Business Forum, Dubai World Government Summit, Economic and
Social Research Institute, Economic Commission for Latin America and the Caribbean
(ECLAC), Economic Society of Australia, ECOSOC, Edinburgh Book Festival,
Employment and Social Affairs Committee (EU Parliament), Ernst and Young, ETH
Zurich, European Parliament Members Inquiry Committee (PANA), European Pensions
& Investments Summit, European Petrochemical Association, Federal Department of
Foreign Affairs (Switzerland), Federal Reserve System, Feltrinelli Foundation, Financial
Conduct Authority, Fondation Jean Jaurès, Ford Foundation, Fordham University,
Foundation for European Progressive Studies (FEPS), Free Library of Philadelphia,
Friedrich-Ebert-Stiftung, Frontiers of Thought, Fundación RAP, George Washington
University Law School, German Council on Foregin Relations, Gerson Lehrman Group,
Global Alliance for Tax Justice, Global Development Institute, Global Economic
Symposium, Global Relations Forum, Government of Chile, Government of China,
Government of Colombia, Government of Cuba, Government of Japan, Government of
Mexico, Government of Namibia, Government of Panama, Government of Scotland,
Government of South Africa, Government of Sri Lanka, Government of Tunisia,
Government of United Arab Emirates, Greenpeace, Hans Boecker Foundation, Harvard
Business School, Harvard Club, Harvard University, HEC Paris, Hessian State Centre for
Civic Education, Hitachi Innovation Forum, Hong Kong Trade Development Council
(Asia Financial Forum), House Democratic Caucus Issues Conference, How To
Academy, Icahn School of Medicine at Mt. Sinai, IHEC School of Business (Tunisia),
Independent Commission for the Reform of International Corporate Taxation,
Independent Commission for the Reform of International Corporate Taxation, Initiative
for Policy Dialogue (IPD), Innovasjon Norge, Institute for Human Rights and Business,
Institute for New Economic Thinking (INET), Institute for Science, Engineering and
Public Policy, Institute of Development Studies Kolkata, Institute of Latin American
Studies at Columbia University, Intergovernmental Group of 24, International Bar
Association, International Economics Association, International Federation of
Accountants, International Institute for Journalism, International Institute of Information
Technology (Bangalore), International Labour Organization, International Monetary
Fund, International Political Science Association World Congress, International Summit
of Cooperatives, Istituto di Studi Economici e per l'Occupazione (I.S.E.O.), Italian
Cultural Institute, Japan Broadcasting Corporation (NHK), Japan International
Cooperation Agency, Jewish Community Center, Joseph Crowley, Joseph Fisher Lecture,
Julius Baer, Kairos, Kentucky Author Forum, Khazanah (Malaysia), Kiel Institute, Koç
Holding, Korea Business News, Labour Party of the UK, Lanxess, Le Havre Forum, Les
Entretiens du Tresor, Libera Universita Internazionale degli Studi Sociali (LUISS),
Lindau Nobel Laureate Meetings, lit.COLOGNE, Living Liberally, London School of
Economics, Lotos Club, Lugano Fund Forum, LUISS University, Luxembourg Income
Study, Lycee Francaise (New York), Macao International Environmental Co-operation
Forum & Exhibition, Marche Polytechnic University, Martha's Vineyard Hebrew Center
Summer Institute, Masic Investment Forum, Massachusetts Institute of Technology,
Mexican Association of Insurance Companies, Milestones Conference, Ministry of
Finance (Ethiopia), Ministry of Finance (Indonesia), Monetary Authority of Macau,
Morgan Stanley Investment Management, MS Europa, Museum of American Finance,
Myanmar Federation of Chambers of Commerce and Industry (sponsored by UNDP and


                                           A-115
 Case 6:15-cv-01517-TC       Document 266-1       Filed 06/28/18    Page 167 of 193




Myanmar Development Research Institute), Nasscom, National Assembly (France),
National Association for Business Economics (NABE), National Association of
Economists and Accountants of Cuba (ANEC), National Press Club, National Tax
Association, Negotiators of the Trans-Pacific Partnership, New Democratic Party of
Canada, New York City Bar Association, New York Hedge Fund Roundtable, New York
Historical Society, New York Public Library, New York University, NMS Management,
North Jersey Public Policy Network , OECD, Open Society Institute, Organisation for
Economic Co-operation and Development, Otis University, Oxfam, Oxford Blavatnik
School, Oxford Fulbright Distinguished Lecture in International Relations, Oxford
Martin School, Paris School of Economics, Parliament of Scotland, Pew Charitable
Trusts, Phoenix Group, Polish Chamber of Commerce, Pontifical Academy of Social
Sciences, Princeton University Press, Princeton University’s Griswold Center for
Economic Policy Studies, Productivity Commission (Australia), Program for Economic
Research, Progressive Alliance of Socialists and Democrats (European Parliament),
Progressive Economy Annual Forum (Belgium), Public Eye Awards, Public Pension
Funding Forum (Columbia), Public Theater, Rabobank, Raising the Bar, Ramapo
College, Real Academia de Ciencias Económicas y Financieras, Reinventing Bretton
Woods Committee, Renmin University, Research Institute for Development, Growth and
Economics (RIDGE), Reserve Bank of India, Resources for the Future, Responsible
Endowments Coalition, Rockefeller Brothers Fund, Roosevelt Institute, Rosa DeLauro,
Royal Bank of Canada, Royal Geographical Society , Royal Society for the
Encouragement of Arts, Manufactures and Commerce, Russell Sage Foundation, Rutgers
University, Sacred Heart school (New York), Sapienza University of Rome, Sceintific
Council for Government Policy (Netherlands), School of International and Public Affairs
at Columbia University, Sciences Po, Scuola Superiore Sant'Anna, SEC, Securities &
Exchange Commission, Shanghai Jiaotong University, Shearman and Sterling, LLP,
Social Business Awards (France), Society for Progress, Society of Corporate Secretaries
and Governance Professionals, Spanish Royal Academy, Standard Chartered, Starmus
Festival, Statoil, Stuyvesant High School, Sun Hung Kai Properties, Swedish
International Development Cooperation Agency (SIDA), Swiss International Finance
Forum, Tamer Center, Tannenbaum Lecture (Columbia), The Chinese University of
Hong Kong, The Commonwealth, The Economist, The Greens/European Free Alliance
(European Parliament), The New Republic, The New School, The Overseas Development
Institute, Tiger Forum (France), Tokyo International Conference on African
Development, Town Hall Seattle , Trento Festival of Economics , Trinity College,
Tsinghua University, Turkish Economic Association, UBS, UK Treasury, UNDESA,
UNDP, UNESCO, UNFPA, UNICEF, Union Investment, United Nations, United Nations
Conference on Trade and Development, United Nations Development Programme,
United Nations Economic and Social Commission for Asia and the Pacific, United
Nations High-Level Panel on Innovation and Access to Medicines, United Nations
Industrial Development Organization, United Nations Office of the High Commissioner
for Human Rights, United Nations Panel Sovereign Debt Vulnerabilities and the
Opportunity for a New Debt Workout Mechanism Building on the UNGA process,
United Nations University World Institute for Development Economics Research (UNU-
WIDER), United States Congress, United States Senate, United States Senate Budget
Committee, United States State Department, Universidad del Rosario, Universidad


                                         A-116
 Case 6:15-cv-01517-TC         Document 266-1        Filed 06/28/18     Page 168 of 193




Nacional de Cordoba (Argentina), Universite Paris-Dauphine, University of Adelaide,
University of British Columbia, University of California at Berkeley, University of
Chicago Booth School of Business, University of Fribourg (Switzerland), University of
Goettingen, University of Havana, University of Hawaii, University of Heidelberg,
University of Hyderabad, University of Macao, University of New South Wales,
University of Oslo, University of Ottawa, University of Split (Croatia), University of
Trento, University of Zurich, Vector Casa de Bolsa, Victoria University, Vienna
University of Economics and Business, Virginia Festival of the Book, Washington Center
for Equitable Growth, Ways With Words Festival (Totnes, UK), Winton Capital
Management, Women's Alternative Investment Summit, World Affairs Council, World
Bank, World Economic Forum, World Health Organization, World Leaders Forum,
World Technology Network, World Urban Forum, Yale Institution for Social and Policy
Studies, Youth Forum on Foreign Policy (India), ZFU International Business School.




Additional outside activities (including consulting, advising, paid and unpaid) at
some point during last five years:
CFTC-SEC Advisory Committee on Emerging Regulatory Issues (Member), Acumen
Fund (member of the board), Amherst College (member of board of trustees), Resources
for the Future (member of board of trustees), Alliance for Climate Projection, Center for
Global Development, Economic Research Forum (Cairo), Barcelona Graduate School of
Economics Advisory Scientific Council, International Advisory Board, Statoil and
Docomo, Scientific Advisory Board, Institute for New Economic Thinking, International
Economics Association (President, 2011-2013), World Bank (CEAC, Chief Economist’s
Advisory Council, Eminent Persons), OECD (High Level Expert Group on the
Measurement of Economic Performance and Social Progress, co-chair), Commission of
Experts on Reforms of the International Monetary and Financial System, appointed by
the President of the General Assembly of the United Nations (2009, chair), Economic
Advisory Council (South Africa), South African Competitive Council (Expert),
Government of South Africa, Fiscal Commission Working Group (Scotland), Roosevelt
Institute (Chief Economist), Oxfam, Advisory Board of the Martin School of Oxford,
Independent Commission for the Reform of International Corporate Taxation
(Commissioner), World Economic Forum (on Latin America, Co-chair and other
advisory work), China Development Research Foundation, Research Institute for
Development, Growth and Economics (Chairman), Brennan Center for Justice (Member,
Economic Advisory Board), Carbon Pricing Leadership Coalition’s High-level
Commission on Carbon Prices (Co-Chair), Center for a New Economy’s Growth
Commission for Puerto Rico (Member).
Litigation support/expert witness for plaintiffs in anti-trust litigation concerning alleged
anti-competitive restraints imposed by Visa, Mastercard, and American Express and for
US Air concerning alleged anti-competitive restraints imposed by Sabre GDS; for plaintiffs
in Canada concerning alleged anti-competitive practices of Microsoft and their impacts on
consumers and innovation; for plaintiffs involved in litigation involving alleged

                                            A-117
 Case 6:15-cv-01517-TC         Document 266-1        Filed 06/28/18     Page 169 of 193




misconduct by credit rating agency; pro-bono expert for Argentina in litigation involving
debt restructuring; expert witness on welfare costs associated with exclusionary actions
against Intel, Apple, and Hewlett Packard before ITC in case involving alleged patent
infringement; pro-bono amicus filings in cases concerning Alien Torts Act, patentability
of human genes (BRAC genes), and debt restructuring (interpretation of pari passu clause),
Brattle (work involving financial sector misconduct and anti-trust issues).
Informal and unpaid consultations and advice to a variety of governments and government
officials, including those in Greece, Namibia, Panama, South Africa, Spain, Scotland, and
France; congressional testimony and to the congressional oversight panel on matters
relating to reforming the financial sector, the cost of Iraq and Afghanistan wars, and
inequality.




Working papers and unpublished papers (in categories)
1. Economics of Information
“Characterization, Existence, and Pareto Optimality in Insurance Markets with
       Asymmetric Information with Endogenous and Asymmetric Disclosures:
       Revisiting Rothschild-Stiglitz,” (update and revision of “Equilibrium in a
       Competitive Insurance Market Under Adverse Selection with Endogenous
       Information”), February 2018.
“Contests and Cooperation: Toward a General Theory of Compensation and
      Competition,” presented at a Conference on the Internal Organization of Firms,
      International Institute of the Internal Organization of Firms, International Institute
      of Management, Berlin, July 1980; and at a Conference on the Economics of
      Information, University of Pennsylvania, May 1981.
“Cutting off Credit: An Application of Constraints on Incentive Devices,” with A. Weiss,
       April 1982.
“Equilibrium in a Competitive Insurance Market Under Adverse Selection with
       Endogenous Information,” with Jungyoll Yun and Andrew Kosenko, NBER
       Working Paper No. 23556, June 2017.
“Equilibrium Unemployment as a Worker Screening Device,” with B. Nalebuff and A.
       Rodriguez, NBER Working Paper 4357, May 1993. (Paper presented as
       “Equilibrium Unemployment, Testing, and the Pure Theory of Selection” at the
       NBER/CEPR Conference on Unemployment and Wage Determination, Boston,
       October 1991.)
“Equilibrium Unemployment, Testing, and the Pure Theory of Selection,” with A.
       Rodriguez, presented at NBER/CEPR Conference on Unemployment and Wage
       Determination, Boston, October 1991.
“The Existence and Characteristics of Competitive Equilibrium,” with R. Arnott, revised
      1985.


                                            A-118
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18    Page 170 of 193




“Existence and Equilibrium in Markets with Imperfect Information,” with M. Rothschild,
       presented to World Congress of Econometric Society, Toronto, 1975.
“Incentives Schemes Under Differential Information Structures: An Application to Trade
       Policy,” with P. Dasgupta, IMSSS Technical Report No. 172, Stanford
       University, July 1972.
“Information and Exploration Externalities,” SEER Technical Report, Stanford
       University, 1976.
“Information in a Decentralized (Market) Economy,” presented at Spoleto Conference on
       Post Industrial Society, July 1986.
“Information, Planning and Incentives,” presented at the CSCCRP Sino-American
       Conference on Alternative Development Strategies in Wingspread, Racine, WI,
       November 1980. (Chinese edition published 1982.)
“Knowledge of Technology and the Technology of Knowledge: New Strategies for
     Development,” Background paper for UNDP Human Report 2001.
“Moral Hazard and Unemployment in Competitive Equilibrium,” with P. Rey. October
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                                         A-119
 Case 6:15-cv-01517-TC       Document 266-1       Filed 06/28/18     Page 171 of 193




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                                          A-120
 Case 6:15-cv-01517-TC        Document 266-1          Filed 06/28/18   Page 172 of 193




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                                           A-121
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18     Page 173 of 193




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“Principles and Guidelines for Deficit Reduction,” The Roosevelt Institute, December 2,
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                                           A-122
 Case 6:15-cv-01517-TC        Document 266-1      Filed 06/28/18     Page 174 of 193




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       presented at DIME conference, Budapest, September 8, 2010.
“A Theorist’s View of Policymaking and a Policymaker’s View of Theory Perspectives
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“Adverse Selection, Credit Rationing and Central Bank Policy,” Working Paper, 1989.
“Capital Market Imperfections and Regional Economic Development,” with B.
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“Can We Prevent Another Global Financial Crisis?” public lecture at the University of
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                                          A-123
 Case 6:15-cv-01517-TC        Document 266-1        Filed 06/28/18     Page 175 of 193




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“The Future of the Euro: An Analysis of the Challenges Facing the Currency Union,”
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“The Global Financial Crisis: Lessons for Economc and Financial Theory and Policy,”
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“New Economic World Order: Perspectives from the U.S.” presented in Flims,
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“A New Era of Opening Up,” lecture at the China Development Forum, March 20, 2011.
“Two Principles for the Next Round or, How to Bring Developing Countries in from the
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“Responding to Economic Crises: Policy Alternatives for Equitable Recovery and
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"Responding to the Crisis: Real Estate, Asia, and the Global Economy," MIPIM Asia,
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“Road to Ruin?: Financial Instability and the Global Economy,” lecture at the Crawford
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“Towards a New International Architecture: Principles and Policies,” presented to
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“Allocation of Capital in East Asia,” with M. Uy, prepared for The East Asian Miracle,
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“Can Aid Facilitate Development? A New Vision for Development Cooperation in the
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“Confronting AIDS in Developing Countries,” address to Members of the European
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“Development Under Adversity? The Palestinian Economy in Transition,” address to the
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                                           A-124
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 176 of 193




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“The Dialectics of Law and Development,” with Antara Haldar, presented at the Institute
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“Distribution, Efficiency and Voice: Designing the Second Generation of Reform,”
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“Equitable and Sustainable Development,” presented at the Conference on “Central
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“Financial Liberalization, Financial Restraint, and Entrepreneurial Development,” with
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“The Future of China,” presented in “China: Challenges and Prospects,” at the World
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“The Indian Microfinance Crisis,” with Antara Haldar, February 2013.
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“An Issues Paper on Financial Markets and Policies in East Asian Economies,” June
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“Markets and Development,” prepared for the American Economic Association
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“Microfinance and Missing Markets,” with Shahe Emran and Mahbub Morshed, October
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“More Instruments and Broader Goals: Moving Toward the Post-Washington
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                                          A-125
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 177 of 193




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“Post Financial Crisis: Options for SIDS and Emerging Economies,” presentation in
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“Reducing Poverty: Some Lessons from the Last Quarter Century,” presented at
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      September 8, 2010.
“A Report on the China Trip for the World Bank Project ‘Public Policy and the Asian
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“The Role of Cognitive Change in Societal Rigidity and Change,” with K. Hoff, March
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“Second Generation Strategies for Reform for China,” presented to Beijing University,
      Beijing, China, July 20, 1998
“A Social Democratic Agenda for a More Dynamic Indian Economy: Creating an
      Innovative and Learning Society,” The 2010 Jawaharlal Nehru Memorial Lecture,
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“Sound Finance and Sustainable Development in Asia,” Keynote Address to the Asia
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“Statement to the Meeting of Finance Ministers of ASEAN plus 6 with the IMF and the
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“Statement to the Meeting of the Heads of Multilateral Development Banks,” Inter-
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“Survey of the Economics of International Debt,” with J. Eaton and M. Gersovitz, 1985.
“Taxes, Prices, and the Balance Between Industry and Agriculture,” with R. Sah,
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“Technology, Taxes, Prices, and the Balance between Industry and Agriculture,” with R.
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“Theory of Imperfect Competition in Rural Credit Markets,” with K. Hoff, Institute for
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“A Theory of Rural Credit Markets with Costly Enforcement,” with K. Hoff, October
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“Toward a New Paradigm for Development: Strategies, Policies, and Processes,” given as
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                                          A-126
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18    Page 178 of 193




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12. Distribution of Income and Wealth
“Inequality, Stagnation, and Market Power: The Need for a New Progressive Era,”
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“Intergenerational Mobility and Dynastic Inequality,” with R. Kanbur, Princeton
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“Mobility and Inequality: A Utilitarian Analysis,” with R. Kanbur, Economic Theory
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“Remarks on Inequality, Agency Costs, and Economic Efficiency,” prepared for a
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“Simple Formulae for the Measurement of Inequality and the Optimal Linear Income
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13. Welfare Economics
“The Inefficiency of the Competitive Stock Market and Its Implications for the
      Depletion of Natural Resources,” Studies in the Economics of Energy Resources,
      Technical Report No. 21, Stanford University, 1977.
“Pareto Inferior Trade and Optimal Trade Policy,” with D. Newbery, Princeton
       University Econometric Research Program Research Memorandum 281, May
       1981.
14. Comparative Economic Systems / Organization Theory
“Economics of Committees,” with R. Sah, Center Discussion Paper 486, Economic
      Growth Center, Yale University, June 1985.
“Human Nature and Economic Organization,” Jacob Marashak Lecture, presented at Far
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“Lessons for Transition Economies from the Experience of the East Asian Tigers,”
      Videorecording of a lecture given in an IMF Institute seminar series, November 7,
      1996.
“Managerial Quality in Centralized versus Decentralized Economic Systems,” with R.
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                                          A-127
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18     Page 179 of 193




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“Perpetuation and Self-Reproduction of Organizations: The Selection and Performance of
       Managers,” with R. Sah, presented at World Congress of Econometric Society,
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“Some Aspects of a General Theory of Economic Organization,” lecture presented at the
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15. Political Economy
“Gender and Development: The Role of the State,” World Bank Gender and
      Development Workshop, Washington, D.C., April 2, 1998.
“Political Economy in a Contestable Democracy: The Case of Dividend Taxation,” with
        A. Korinek, 2008 Meeting Papers, Society for Economic Dynamics.
“Public Policy for a Knowledge Economy,” remarks at the Department for Trade and
       Industry and Center for Economic Policy Research, London, U.K., January 27,
       1999.
“Reflections on the Theory and Practice of Reform,” presented to Stanford University,
       September 17, 1998.
“Rethinking the Economic Role of the State: Publicly Provided Private Goods,” lecture
       delivered at Universitat Pompeu Fabra, Barcelona, November 15, 1992.
16. Theory of Taxation / Public Finance
“Financial Structure and the Incidence of the Corporate Income Tax,” with B.
       Greenwald, March 1987.
“Information and Multi-Period Optimal Income Taxation with Government
       Commitment,” with D. Brito, J. Hamilton, and S. Slutsky, NBER Working Paper
       2458, December 1987.
“Information and Multi-Period Optimal Taxation With Self-Selection,” with D. Brito, J.
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“Local Financing Alternative to the International Incidence of Corporate Income Taxes,”
       with B. Greenwald, presented to NBER Conference on International Aspects of
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“Modelling the Effects of Capital Gains Taxes on the Accrual and Realization of Capital
      Gains,” Report prepared for the Department of the Treasury, October 1981.
“Pareto Efficient Taxation and Expenditure Policies, With Applications to the Taxation
       of Capital, Public Investment, and Externalities,” presented at conference in honor
       of Agnar Sandmo, Bergen, January 1998.
“Technological Change and Taxation,” prepared for Conference on Tax Policy in the
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                                           A-128
 Case 6:15-cv-01517-TC        Document 266-1       Filed 06/28/18     Page 180 of 193




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       Exchange Constraint,” Paper prepared for the World Bank, September 1982.
“The Town-Versus-Country Problem: Optimal Pricing in an Agrarian Economy,” with A.
      Braverman and R. Sah, presented to a Conference at the World Bank, June 1982.
17. Theory of Public Expenditures
“Project Appraisal and Foreign Exchange Constraints: A Simple Exposition,” with C.R.
       Blitzer and P. Dasgupta, NBER Working Paper 2165, 1987.
“The Theory of International Public Goods and the Architecture of International
      Organizations,” Background Paper No. 7, Third Meeting, High Level Group on
      Development Strategy and Management of the Market Economy, UNU/WIDER,
      Helsinki, Finland, July 8-10, 1995.
18. Miscellaneous
“Bailouts, Regulation or Free Markets? Business and Government in a Small Regional
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       the Tasmanian Chamber of Commerce and Industry in Hobart, Australia, August
       2, 2010.
“China: Forging a Third Generation of Reforms,” Speech given on July 23, 1999.
“The Impact of Asbestos Liabilities on Workers in Bankrupt Firms,” with Jonathan M.
       Orszag and Peter R. Orszag, commissioned by the American Insurance
       Association, December 2002.
“Inequality and Capital Taxation,” IMSSS Technical Report 457, Stanford University,
       July 1985.
“Incentives and Institutions in the Provision of Health Care in Developing Countries:
       Toward an Efficient and Equitable Health Care Strategy,” Keynote Address,
       International Conference in Health and Economic Development, National
       Institutes of Health, November 15, 1999.
“Optimal Leverage: The Role of Externalities,” with S. Battiston, D. Delli Gatti, M.
      Gallegati, and B. Greenwald.
“Optimal Provision of Loans and Insurance against Unemployment from a Lifetime
      Perspective,” with Jungyoll Yun, National Bureau of Economic Research
      Working Paper 19064, May 2013.
“Optimality and Equilibrium in a Competitive Insurance Market under Adverse Selection
      and Moral Hazard,” with Jungyoll Yun, NBER Working Paper 19317, August,
      2013.




                                           A-129
Case 6:15-cv-01517-TC   Document 266-1   Filed 06/28/18   Page 181 of 193




                        EXHIBIT B:
                PREVIOUS EXPERT TESTIMONY
     Case 6:15-cv-01517-TC         Document 266-1       Filed 06/28/18      Page 182 of 193




The list below indicates all matters in which I have provided expert reports, affidavits,
declarations, witness statements, deposition testimony, or trial testimony in the past five years.
While I have in my possession copies of all such reports, affidavits, declarations, and witness
statements, many of these cases are subject to protective orders or confidentiality agreements that
prevent me from providing copies in this matter.

Case:          Ambac Assurance Corporation and The Segregated Account of Ambac Assurance
               Corporation, vs. Countrywide Home Loans, Inc., Countrywide Securities Corp.,
               Countrywide Financial Corp., and Bank of America Corp., Index No.:
               653979/2014
Forum:         Supreme Court of the State of New York, New York County
Testimony:     Report
               This case is subject to a protective order that prevents disclosure of materials.

Case:          American International Group, Inc. and Subsidiaries vs. United States of America,
               ECF Case No.: 09 Civ. 1871 (LLS)
Forum:         United States District Court for the Southern District of New York
Testimony:     Report, Rebuttal Report, Deposition
               This case is subject to a protective order that prevents disclosure of materials.

Case:          MBIA Insurance Corporation vs. Credit Suisse Securities (USA) LLC, DLJ
               Mortgage Capital Inc., and Select Portfolio Servicing, Inc., Index No.:
               603751/2009
Forum:         Supreme Court of the State of New York, New York County
Testimony:     Report, Rebuttal and Reply Report, Deposition
               This case is subject to a protective order that prevents disclosure of materials.

Case:          Ambac Assurance Corporation vs. EMC Mortgage LLC (f/k/a EMC Mortgage
               Corporation), J.P. Morgan Securities LLC (f/k/a Bear, Stearns & Co. Inc.), and
               JPMorgan Chase Bank, N.A., Index No.: 650421/2011
Forum:         Supreme Court of the State of New York, New York County
Testimony:     Report, Rebuttal Report
               This case is subject to a protective order that prevents disclosure of materials.

Case:          Ambac Assurance Corporation and The Segregated Account of Ambac Assurance
               Corporation, vs. Countrywide Home Loans, Inc., Countrywide Securities Corp.,
               Countrywide Financial Corp., and Bank of America Corp., Index No.:
               651612/2010
Forum:         Supreme Court of the State of New York, New York County
Testimony:     Report, Rebuttal Report, Deposition
               This case is subject to a protective order that prevents disclosure of materials.

Case:          US Airways, Inc., vs. Sabre Holdings Corporation, Sabre, Inc., Sabre Travel
               International Limited, Civil Action No.: 1:11-cv-02725-LGS
Forum:         United States District Court for the Southern District of New York




                                               B-1
    Case 6:15-cv-01517-TC       Document 266-1        Filed 06/28/18     Page 183 of 193




Testimony:   Report, Reply Report, Deposition, Declaration, Trial Testimony, Rebuttal Trial
             Testimony
             This case is subject to a protective order that prevents disclosure of materials.

Case:        In re: American Express Anti-Steering Rules Antitrust Litigation, 11-MD-02221
Forum:       United States District Court for the Eastern District of New York
Testimony:   Declaration
             This case is subject to a protective order that prevents disclosure of materials.

Case:        Abaclat and Others vs. The Argentine Republic, Case No.: ARB/07/5
Forum:       International Centre for Settlement of Investment Disputes
Testimony:   Reports, Rebuttal Reports
             This case is subject to a confidentiality agreement that I believe prevents
             disclosure of materials.




                                             B-2
Case 6:15-cv-01517-TC   Document 266-1   Filed 06/28/18   Page 184 of 193




                        EXHIBIT C:
                   MATERIALS CONSIDERED
    Case 6:15-cv-01517-TC         Document 266-1        Filed 06/28/18     Page 185 of 193




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